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                   IN THE UNITED STATES DISTRICT COURT FOR
                       THE EASTERN DISTRICT OF VIRGINIA
                             ALEXANDRIA DIVISION

CENTRIPETAL NETWORKS, INC.,                         )
                                                    )
                         Plaintiff,                 )   No.    2:18cv94
                                                    )
       vs.                                          )
                                                    )   JURY TRIAL DEMANDED
CISCO SYSTEMS, INC.,                                )
                                                    )
                         Defendant.                 )
                                                    )



                     COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Centripetal Networks, Inc. (“Centripetal”) files this Complaint for Patent

Infringement and Demand for Jury Trial against Cisco Systems, Inc. (“Defendant” or “Cisco”)

and allege as follows:

                                       THE PARTIES

       1.      Plaintiff Centripetal is a corporation organized under the laws of the state

of Delaware with its principal place of business at 2251 Corporate Park Drive, Suite 150,

Herndon, Virginia 20171. Centripetal was founded with a strong focus on innovation and

technology leadership that aligns to its core mission and purpose to protect networks from

advanced threats. Centripetal has invented core networking technologies that meet the scale

of the cyber threat intelligence challenge. Centripetal maintains the largest threat

intelligence partner ecosystem, providing community based solutions to defeat sophisticated

cyberattacks. In recognition of its innovation and expertise, Centripetal has been awarded

numerous patents enabling its key technological advances in the network security area.




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       2.      Cisco is a California Corporation with its principal place of business at 170

West Tasman Drive, San Jose, California 95134. Cisco may be served through its agent for

service of process CSC at 2710 Gateway Oaks Dr. Ste. 150N, Sacramento, California 95833.

Cisco maintains a regular and established place of business in this District through multiple

permanent physical facilities. Cisco maintains a Technical Support Center located at 1051

East Cary Street 5th Floor, Richmond, Virginia 23219. Cisco also maintains the Cisco Systems

Customer Experience Center located at 13600 Dulles Technology Drive Building #6, Wilson

Building, Herndon, VA 20171. Further, Cisco also maintains another permanent facility

located at 1860 Michael Faraday Drive #100, Reston, VA 20190.

       3.      Cisco regularly conducts and transacts business in Virginia, throughout the

United States, and within the Eastern District of Virginia, and as set forth below, has

committed and continues to commit, tortious acts of patent infringement within and outside

of Virginia and within the Eastern District of Virginia. Further, Cisco directly or indirectly

uses, distributes, markets, sells, and/or offer to sells throughout the United States, including in

this judicial district, various telecommunication products, including networking switches,

routers, and cloud products.

                                JURISDICTION AND VENUE

       4.      This is an action for patent infringement arising under the patent laws of

the United States, Title 35, United States Code. This Court has exclusive subject matter

jurisdiction over this case for patent infringement under 28 U.S.C. § 1338.

       5.      This Court has personal jurisdiction over Cisco. Cisco has conducted and does

conduct business within the State of Virginia. Cisco maintains a regular and established

place of business in this District through a permanent physical facility located at 1051 East




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Cary Street 5th Floor, Richmond, Virginia 23219. Cisco, directly or through subsidiaries or

intermediaries (including distributors, retailers, and others), ships, distributes, offers for sale,

sells, and advertises (including the provision of an interactive web page) their products and/or

services in the United States, the State of Virginia, and the Eastern District of Virginia.

Cisco, directly and through subsidiaries or intermediaries (including distributors, retailers, and

others), has purposefully and voluntarily placed one or more of their infringing products

and/or services, as described below, into the stream of commerce with the expectation that

they will be purchased and used by consumers in the Eastern District of Virginia. These

infringing products and/or services have been and continue to be purchased and used by

consumers in the Eastern District of Virginia. Cisco has committed acts of patent

infringement within the State of Virginia and, more particularly, within the Eastern District of

Virginia.

       6.      Venue is proper in the Eastern District of Virginia under 28 U.S.C. §§ 1391

and 1400(b). Cisco has transacted business in this District, and has directly committed acts

of patent infringement in this District, and has a regular and established place of business in

this District. Cisco maintains several regular and established place of business in this District

described above. Centripetal is informed and believes that Cisco employs a number of

personnel in this District, including personnel involved in Cisco’s infringement by at least

through the testing, demonstration, support, use, offer for sale, and sale of the accused

products and services within Virginia.

                             CENTRIPETAL’S INNOVATIONS

       7.      Centripetal was founded in 2009. Centripetal is the forerunner in developing

cybersecurity technologies capable of fully operationalizing and automating threat intelligence




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at scale. These technologies protect organizations form advanced threats by extrapolating

every and any threat intelligence feed and applying advanced packet filtering at the network

edge to prevent unwanted traffic from hitting an organization’s network. Centripetal has been

awarded, and continues to prosecute, numerous patents covering innovations in the United

States and around the world resulting directly from Centripetal’s research and development

efforts.

           8.   Centripetal built and sold software and appliances for network security using

these patented technologies. Centripetal’s CleanINTERNET® solution utilizes its patented

Threat Intelligence Gateway, which allows organizations to eradicate threats based on threat

intelligence enforcement and furthermore, focuses on investigating the 10% of unknown

threats.




           9.   Centripetal’s Threat Intelligence Gateway includes the RuleGATE 2000

Gateway series, which “are ultra-high performance threat intelligence gateways with real-time

attack visualization and analytics.” See

https://cdn2.hubspot.net/hubfs/3851017/Centripetal_Networks_September2017/PDF/CNI-



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RuleGATE2000-V0-2.pdf?t=1518206754723, attached hereto as Exhibit 1.

       10.     Centripetal is recognized as an innovative technology company. Centripetal

was named the SINET 16 Innovator for 2017 at the SINET Showcase in Washington D.C.

Gartner, the world’s leading research and advisory company, recognized Centripetal as a Cool

Vendor in Security for Technology and Service Providers in 2017.

                         CENTRIPETAL’S ASSERTED PATENTS

       11.     On July 20, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,686,193 (the “ ‘193 Patent”), entitled “Filtering Network

Data Transfers.” A true and correct copy of the ‘193 Patent is attached hereto as Exhibit 2.

       12.     The ‘193 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from network threats. One of the

ways this is accomplished is filtering network data packet transfers based on one or more rules

to facilitate the protection of computers and networks from network threats.

       13.     On January 31, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,560,176 (the “ ‘176 Patent”), entitled “Correlating Packets in

Communications Networks.” A true and correct copy of the ‘176 Patent is attached hereto as

Exhibit 3.

       14.     The ‘176 Patent is generally directed towards computer networks, and more

particularly, provides a system to improve the flow of data packets transferring between

networks. One of the ways this is accomplished is generating log entries corresponding to the

data packets and utilizing the log entries and the packets to correlate the packets transferred

between the networks.

       15.     On January 31, 2017, the United States Patent and Trademark Office duly




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and legally issued U.S. Patent No. 9,560,077 (the “ ‘077 Patent”), entitled “Methods and

Systems for Protecting a Secured Network.” A true and correct copy of the ‘077 Patent is

attached hereto as Exhibit 4.

       16.     The ‘077 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from attacks. One of the ways

this is accomplished is filtering network data packet transfers based on dynamic security

policies to facilitate the protection of computers and networks from network threats.

       17.     On August 9, 2016, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,413,722 (the “ ‘722 Patent”), entitled “Rule-Based

Network- Threat Detection.” A true and correct copy of the ‘722 Patent is attached hereto as

Exhibit 5.

       18.     The ‘722 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from network threats. One of the

ways this is accomplished is filtering network data packet transfers based on one or more rules

corresponding to one or more network-threat indicators to facilitate the protection of computers

and networks from network threats.

       19.     On December 1, 2015, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,203,806 (the “ ‘806 Patent”), entitled “Rule Swapping

in a Packet Network.” A true and correct copy of the ‘806 Patent is attached hereto as Exhibit

6.

       20.     The ‘806 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from network threats. One of the

ways this is accomplished is processing network data packet transfers based on one or more




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rule sets to facilitate the protection of computers and networks from network threats.

       21.     On October 13, 2015, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,160,713 (the “ ‘713 Patent”), entitled “Filtering

Network Data Transfers.” A true and correct copy of the ‘713 Patent is attached hereto as

Exhibit 7.

       22.     The ‘713 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from network threats. One of the

ways this is accomplished is filtering network data packet transfers based on one or more rules

to facilitate the protection of computers and networks from network threats.

       23.     On September 1, 2015, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,124,552 (the “ ‘552 Patent”), entitled “Filtering

Network Data Transfers.” A true and correct copy of the ‘552 Patent is attached hereto as

Exhibit 8.

       24.     The ‘552 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from network threats. One of the

ways this is accomplished is filtering network data packet transfers based on one or more rules

to facilitate the protection of computers and networks from network threats.

       25.     On February 7, 2017, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,565,213 (the “ ‘213 Patent”), entitled “Methods and

Systems for Protecting a Secured Network.” A true and correct copy of the ‘213 Patent is

attached hereto as Exhibit 9.

       26.     The ‘213 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from attacks. One of the ways




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this is accomplished is filtering network data packet transfers based on dynamic security

policies to facilitate the protection of computers and networks from network threats.

       27.     On September 15, 2015, the United States Patent and Trademark Office duly

and legally issued U.S. Patent No. 9,137,205 (the “ ‘205 Patent”), entitled “Methods and

Systems for Protecting a Secured Network.” A true and correct copy of the ‘205 Patent is

attached hereto as Exhibit 10.

       28.     The ‘205 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from attacks. One of the ways

this is accomplished is filtering network data packet transfers based on dynamic security

policies to facilitate the protection of computers and networks from network threats.

       29.     On June 6, 2017, the United States Patent and Trademark Office duly and

legally issued U.S. Patent No. 9,674,148 (the “ ‘148 Patent”), entitled “Rule Swapping in a

Packet Network.” A true and correct copy of the ‘148 Patent is attached hereto as Exhibit 11.

       30.     The ‘148 Patent is generally directed towards computer networks, and more

particularly, provides a system to protect computer networks from network threats. One of the

ways this is accomplished is processing network data packet transfers based on one or more

rule sets to facilitate the protection of computers and networks from network threats.

       31.     Centripetal owns by assignment the entire right, title, and interest in and to

the ‘193 Patent, the ‘176 Patent, the ‘077 Patent, the ‘722 Patent, the ‘806 Patent, the ‘713

Patent, the ‘552 Patent, the ‘213 Patent, the ‘205 Patent, and the ‘148 Patent (collectively, “the

Asserted Patents”).

       32.     All of the Asserted Patents are valid and enforceable.




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                                     CISCO PRODUCTS

       33.      Cisco is a multi-billion dollar company which offers networking products for

networks of all sizes. A major portion of Cisco’s product line focuses on enterprise grade

switches, routers, and cloud products.

       34.      Cisco makes, uses, sells, offers for sale, and/or imports into the United States

and this District, products and services that utilize Cisco’s IOS XE 16.6 Networking Software,

including but not limited to Cisco’s Catalyst Switches (the “Accused Catalyst Products”),

Cisco’s ASR and ISR Series Routers (the “Accused Router Products”). See

https://www.cisco.com/c/en/us/products/switches/index.html, attached hereto as Exhibit 12; see

also https://www.cisco.com/c/en/us/products/routers/index.html attached hereto as Exhibit 13.

       35.      Cisco makes, uses, sells, offers for sale, and/or imports into the United States

and this District, Cisco ASA with FirePOWER Services Products (the “Accused ASA

Products”). See https://www.cisco.com/c/en/us/products/security/asa-firepower-

services/index.html, attached hereto as Exhibit 14.

       36.      Cisco also makes, uses, sells, offers for sale, and/or imports into the United

States and this District, Cisco’s Stealthwatch products. See

https://www.cisco.com/c/en/us/products/security/stealthwatch/index.html, attached hereto as

Exhibit 15.

                       CISCO SWITCH AND ROUTER PRODUCTS

       37.     The Accused Catalyst Products include the Catalyst 9400 series and Catalyst

9300 series switches. The Catalyst series switches include C9300-24T, C9300-48T, C9300-

24P, C9300-48P, C9300-24U, C9300-48U, C9300-24UX, C9300-48UXM, C9300-NM-4G,

C9300-NM-8X, C9300-NM-2Q, C9407R, C9410R, C9407R, C9400-LC-48U, C9400-LC-48T,




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 C9400-LC-48UX, and C9400-LC-24XS. See

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto at Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17.

        38.     The Accused Router Products include the ASR 1001-X, ASR 1002-X, ASR

 1001-HX, ASR 1002-HX, ASR1000 RP2, ASR1000 RP3, ASR1000 ESP-40, Integrated

 Services Virtual Router (ISRv) including the 5000 Enterprise Network Compute System, and

 Cloud Services Router (CSR) 1000V. See

 https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-aggregation-

 services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see also

 https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19.

        39.     The Accused Catalyst Products and Accused Router Products are enterprise

 level networking products, which includes integrated security to address constantly evolving

 threats. The Accused Catalyst Products and Accused Router Products operate with the Cisco

 IOS XE 16 operating system, and includes a number of technologies such as Encrypted Traffic

 Analytics (“ETA”), Digital Network Architecture (“DNA”), Software-Defined Access (“SD-

 Access”), policy-based automation, Application Visibility and Control (“AVC”), Next-

 Generation Network-Based Application Recognition (“NBAR2”), Hitless ACL updates, ACL

 Label-Sharing, DNS and SNI correlation, Policy management, and traffic filtering.

        40.     ETA addresses cyberattacks, where nearly half are hidden in encrypted traffic.

 ETA analyzes data from Cisco switches, referred to as NetFlow, learning to spot anomalies




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 that could signal an incoming threat. ETA identifies known threats in encrypted traffic –

 without decrypting the traffic – resulting in a more secure and efficient network.

        41.     The Accused Catalyst Products and Accused Router Products use SD-Access

 and Cisco DNA technology to provide policy-based automation and network assurance from

 edge to cloud. Cisco DNA applies policies at the network edge to monitor suspicious activity

 in both encrypted and decrypted traffic. DNA also provides analytics and data displayed in an

 interactive user interface. As shown below, DNA provides automation, which allows policies

 to be automatically provisioned to multiple devices in the network. See

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/digital-network-

 architecture/top6-cte-amer.pdf?oid=ifgen000258, attached hereto as Exhibit 20.




 https://www.cisco.com/c/en/us/products/cloud-systems-management/dna-
 center/index.html#~stickynav=1, attached hereto as Exhibit 21, at 5.

        42.     The Accused Catalyst Products and Accused Router Products include AVC,



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 which performs deep packet inspection (“DPI”) to identify applications running through the

 network. AVC works in conjunction with NetFlow to gauge application usage and

 performance statistics, which is useful for analytics and security policies.




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 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/unified-wan-
 services/at_a_glance_c45-649117.pdf, attached hereto as Exhibit 22, at 1.

        43.     The Accused Catalyst Products and Accused Router Products use data collected

 by AVC to generate and provide reports using the Cisco Insight Reporter.




 See Miercom-Report-Cisco-vs-Huawei-Network-Architecture-DR170921G.pdf, attached

 hereto as Exhibit 23, at 20.

        44.     The Accused Catalyst Products and Accused Router Products include packet

 filtering rules to control the flow of network traffic. Management of packet filtering rules may

 be automated. Such packet filtering rules may be implemented using Access Control Lists

 (“ACL”), and automation allows packets to be dropped or forwarded to another network.




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 (Security Configuration Guide, Cisco IOS XE Everest 16.5.1a (Catalyst 9300 Switches)).
 https://www.cisco.com/c/en/us/td/docs/switches/lan/catalyst9300/software/release/16-
 5/configuration_guide/sec/b_165_sec_9300_cg.pdf, attached hereto as Exhibit 24, at 200.




 Id. at 209.

         45.   The Accused Catalyst Products and Accused Router Products include ACLs,

 which are configurable to prevent from continuing toward a destination based on one or more

 criteria.




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 Id. at 200.

         46.    The Accused Catalyst Products and Accused Router Products provide logging

 information regarding packet filtering rules and network-threat indicators.




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 Id. at 198-99.

        47.       The Accused Catalyst Products and Accused Router Products include Multi-

 layer Machine Learning to receive packets at multiple OSI layers.




 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 5.

        48.       The Accused Catalyst Products and Accused Router Products include policy-


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 based automation, which allows provision of multiple devices using “policy-based automation

 from edge to cloud with foundational capabilities”:




 (Cisco Catalyst Data Sheet).
 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-
 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17, at 1.

        49.    The Accused Catalyst Products and Accused Router Products include ports

 which receive packets via communication interfaces that do not have network-layer addresses.

 Furthermore, the Accused Catalyst Products and Accused Router Products include ports which

 receive packets via communication interfaces that do have network-layer addresses.




 (Cisco Catalyst 9300 Series Switches Hardware Installation Guide).
 https://www.cisco.com/c/en/us/td/docs/switches/lan/catalyst9300/hardware/install/b_c9300_hi



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 g.pdf, attached hereto as Exhibit 26, at 5.

                            CISCO STEALTHWATCH PRODUCTS

          50.   Cisco Stealthwatch Products include Cisco Stealthwatch Endpoint License and

 Stealthwatch Cloud (the “Accused Stealthwatch Products”). See

 https://www.cisco.com/c/en/us/products/collateral/security/stealthwatch/datasheet-c78-

 739398.pdf, attached hereto as Exhibit 27.

          51.   Cisco Stealthwatch Enterprise is a scalable solution to provide visibility and

 security analytics in an enterprise network. Stealthwatch Cloud is available as a cloud

 solution. Stealthwatch uses machine learning and behavioral modeling to detect threats and

 protect critical data in the network.

          52.   Stealthwatch also includes ETA, DNA with SD-Access, and AVC, discussed

 above.

          53.   Stealthwatch also includes Cognitive Threat Analytics (“CTA”), which

 pinpoints attacks before they can exfiltrate data. CTA analyzes data from multiple sources and

 uses machine learning techniques to identify malicious activity. CTA provides threat

 summaries in an interactive user interface, and also works with ETA to detect malware in

 encrypted traffic. See

 https://www.cisco.com/c/dam/en/us/products/collateral/security/cognitive-threat-analytics/at-a-

 glance-c45-736555.pdf, attached hereto as Exhibit 28.




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 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 6.

        54.     CTA “[a]nalyz[es] more than 10 billion web requests daily, [and] finds

 malicious activity that has bypassed security controls, or entered through unmonitored

 channels (including removable media), and is operating inside an organization’s environment.

 Cognitive Threat Analytics is a cloud-based product that uses machine learning and statistical

 modeling of networks. It creates a baseline of the traffic in your network and identifies

 anomalies. It analyzes user and device behavior, and web traffic, to discover command-and-

 control communications, data exfiltration, and potentially unwanted applications operating in

 your infrastructure (Figure 1).”




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 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        55.    CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.

 Organizations can integrate and automate their response with an established workflow.” Id.

        56.    As shown below, Stealthwatch may receive and filter packets based on packet

 filtering rules. Stealthwatch may identify packets received by a network device from a host

 machine in one network and generate log entries corresponding to those packets.




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 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 5.

                CISCO ASA WITH FIREPOWER SERVICES PRODUCTS

        57.     The Accused ASA Products include Cisco ASA 5506-X, Cisco ASA 5506W-X,

 Cisco ASA 5506H-X, Cisco ASA 5508-X, Cisco ASA 5516-X, Cisco ASA 5512-X, Cisco

 ASA 5515-X, Cisco ASA 5525-X, Cisco ASA 5545-X, Cisco ASA 5555-X, Cisco ASA 5585-

 X SSP-10, Cisco ASA 5585-X SSP-20, Cisco ASA 5585-X SSP-40, Cisco ASA 5585-X SSP-

 60, Cisco ASA 5585-X SSP EP 10/40, and Cisco ASA 5585-X SSP EP 20/60, as described in

 https://www.cisco.com/c/en/us/products/security/asa-firepower-services/index.html, attached

 hereto as Exhibit 14.

        58.     Cisco ASA with FirePOWER Services is a security appliance, also known as a

 Next Generation Firewall (“NGFW”), designed to protect organizations from cyber attacks.

 The Cisco ASA with FirePOWER Services includes technologies such as unified security

 services and task automation, CTA, AVC, Adaptive Security Device Manager (“ASDM”), and




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 Transactional Commit Modeling.

        59.     Cisco ASA with FirePOWER Services includes Transactional-Commit

 Modeling, which is “a new feature for rule updation” of ACL rules. With Transactional-

 Commit Modeling, “a rule update is applied after the rule compilation is completed; without

 affecting the rule matching performance. With the legacy model, rule updates take effect

 immediately but rule matching slows down during the rule compilation period. This feature is

 useful to prevent potential packet drops during large compilation of rules under high traffic

 conditions.”




 https://www.cisco.com/c/en/us/td/docs/security/asa/asa91/configuration/firewall/asa_91_firewa
 ll_config/access_rules.html, attached hereto as Exhibit 30, at 6-4.

                CISCO’S INFRINGEMENT OF CENTRIPETAL’S PATENTS

        60.     Cisco has infringed and continues to infringe one or more claims of each of the

 Asserted Patents by engaging in acts that constitute infringement under 35 U.S.C. § 271,

 including but not necessarily limited to making, using, selling, and/or offering for sale, in

 this district and elsewhere in the United States, and/or importing into this district and

 elsewhere in the United States, the Accused Catalyst Products, the Accused Router Products,

 the Accused ASA Products, and the Accused Stealthwatch Products, alone or in conjunction

 with one another (collectively, “the Accused Products”).

        61.     In addition to directly infringing the Asserted Patents pursuant to 35 U.S.C. §

 271(a), either literally or under the doctrine of equivalents, or both, Cisco indirectly infringes

 all the Asserted Patents by instructing, directing and/or requiring others, including its


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 customers, purchasers, users, and developers, to perform all or some of the steps of the method

 claims, either literally or under the doctrine of equivalents, or both, of the Asserted Patents.

        62.     Centripetal’s products and services are marked with Centripetal’s patents. For

 example, Centripetal builds and sells RuleGATE 2000, a product which is marked with at least

 the ‘806 Patent, the ‘713 Patent, the ‘205 Patent, the ‘552 Patent, the ‘213 Patent, the ‘077

 Patent, and the ‘176 Patent.

        63.     Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.

        64.     On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        65.     Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        66.     In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s




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 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.

        67.     Centripetal is informed and believes that despite Cisco’s knowledge of the

 Asserted Patents and Centripetal’s patented technology, Cisco made the deliberate decision to

 sell products and services that it knew infringes Centripetal’s Asserted Patents.

        68.     Centripetal is informed and believes that Cisco has undertaken no efforts to

 avoid infringement of the Asserted Patents, despite Cisco’s knowledge and understanding that

 Cisco’s products and services infringe these patents. Thus, Cisco’s infringement of Asserted

 Patents is willful and egregious, warranting enhancement of damages.

        69.     Centripetal is informed and believes that Cisco knew or was willfully blind to

 Centripetal’s technology. Despite this knowledge and/or willful blindness, Cisco has acted

 with blatant and egregious disregard for Centripetal’s patent rights with an objectively high

 likelihood of infringement.

                               FIRST CAUSE OF ACTION
           (Direct Infringement of the ‘193 Patent pursuant to 35 U.S.C. § 271(a))

        70.     Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        71.     Cisco has infringed and continues to infringe Claims 1-20 of the ‘193 Patent in

 violation of 35 U.S.C. § 271(a).



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        72.      Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        73.      Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.

        74.      Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

 or in conjunction with one another (collectively, the “Accused ‘193 Products”).

        75.      The Accused ’193 Products embody the patented invention of the ‘193 Patent

 and infringe the ‘193 Patent because they practice a method comprising:

    receiving, by a computing system and from a computing device located in a first network, a
        plurality of packets, wherein the plurality of packets comprises a first portion of packets
        and a second portion of packets;

    responsive to a determination by the computing system that the first portion of packets
        comprises data corresponding to criteria specified by one or more packet-filtering rules
        configured to prevent a particular type of data transfer from the first network to a
        second network, wherein the data indicates that the first portion of packets is destined
        for the second network:

        applying, by the computing system and to each packet in the first portion of packets, a
           first operator, specified by the one or more packet-filtering rules, configured to drop
           packets associated with the particular type of data transfer; and

        dropping, by the computing system, each packet in first portion of packets; and
        responsive to a determination by the computing system that the second portion of
            packets
            comprises data that does not correspond to the criteria wherein the data indicates
            that the second portion of packets is destined for a third network:

              applying, by the computing system and to each packet in the second portion of
                 packets, and without applying the one or more packet-filtering rules configured
                 to prevent the particular type of data transfer from the first network to the
                 second network, a second operator configured to forward packets not associated



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                 with the particular type of data transfer toward the third network; and

              forwarding, by the computing system, each packet in the second portion of packets
                 toward the third network.

  ‘193 Patent, Claim 1.

        76.      As shown below, the Accused ‘193 Products perform the step of “receiving,

 by a computing system and from a computing device located in a first network, a plurality of

 packets, wherein the plurality of packets comprises a first portion of packets and a second

 portion of packets”:




 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at
 5.

        77.       The Accused ‘193 Products include Cognitive Threat Analytics (“CTA”).

 CTA “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that

 has bypassed security controls, or entered through unmonitored channels (including removable

 media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a



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 cloud-based product that uses machine learning and statistical modeling of networks. It creates

 a baseline of the traffic in your network and identifies anomalies. It analyzes user and device

 behavior, and web traffic, to discover command-and-control communications, data exfiltration,

 and potentially unwanted applications operating in your infrastructure (Figure 1).”




 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        78.     CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.

 Organizations can integrate and automate their response with an established workflow.” Id.

        79.      As shown below, the Accused ‘193 Products perform the step of “responsive

 to a determination by the computing system that the first portion of packets comprises data




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 corresponding to criteria specified by one or more packet-filtering rules configured to prevent a

 particular type of data transfer from the first network to a second network, wherein the data

 indicates that the first portion of packets is destined for the second network: applying, by the

 computing system and to each packet in the first portion of packets, a first operator, specified

 by the one or more packet-filtering rules, configured to drop packets associated with the

 particular type of data transfer; and dropping, by the computing system, each packet in first

 portion of packets.” ‘193 Patent, Claim 1. As shown below, the Accused ‘193 Products “turns

 the network into an end-to-end sensor and enforcer that detects, contains and prevents

 emerging sophisticated security threats”:




 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf., attached hereto as Exhibit 25, at
 8.

        80.      Further, the Accused ‘193 Products perform the step of “responsive to a

 determination by the computing system that the second portion of packets comprises data that

 does not correspond to the criteria wherein the data indicates that the second portion of packets

 is destined for a third network: applying, by the computing system and to each packet in the

 second portion of packets, and without applying the one or more packet-filtering rules

 configured to prevent the particular type of data transfer from the first network to the second

 network, a second operator configured to forward packets not associated with the particular

 type of data transfer toward the third network; and forwarding, by the computing system, each

 packet in the second portion of packets toward the third network.” ‘193 Patent, Claim 1. As



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 shown below, the Accused ‘193 Products “correlate traffic with global threat behaviors to

 automatically identify infected hosts, command and control communication and suspicious

 traffic”:




  Id. at 5.

         81.     The Accused ‘193 Products include Cognitive Threat Analytics (“CTA”).

 CTA “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that

 has bypassed security controls, or entered through unmonitored channels (including removable

 media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a

 cloud-based product that uses machine learning and statistical modeling of networks. It creates

 a baseline of the traffic in your network and identifies anomalies. It analyzes user and device

 behavior, and web traffic, to discover command-and-control communications, data exfiltration,

 and potentially unwanted applications operating in your infrastructure (Figure 1).”




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 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        82.     CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.

 Organizations can integrate and automate their response with an established workflow.” Id.

        83.     The Accused ‘193 Products use “[t]raditional flow monitoring, as implemented

 in the Cisco® Network as a Sensor (NaaS) solution and through the use of NetFlow, provides a

 high-level view of network communications by reporting the addresses, ports, and byte and

 packet counts of a flow. In addition, intraflow metadata, or information about events that occur

 inside of a flow, can be collected, stored, and analyzed within a flow monitoring framework.

 This data is especially valuable when traffic is encrypted, because deep-packet inspection is no




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 longer viable. This intraflow metadata, called Encrypted Traffic Analytics (ETA), is derived by

 using new data elements or telemetry that are independent of protocol details, such as the

 lengths and arrival times of packets within a flow. These data elements have the property of

 applying equally well to both encrypted and unencrypted flows. ETA focuses on identifying

 malware communications in encrypted traffic through passive monitoring, the extraction of

 relevant data elements, and supervised machine learning with cloud based global visibility.

 ETA extracts three main data elements: the initial data packet, the sequence of packet length

 and times, and TLS-specific features.” (Encrypted Traffic Analytics Deployment Guide).

 CVD-Encrypted-Traffic-Analytics-Deployment-Guide-2017DEC.pdf. attached hereto as

 Exhibit 33, at 1.




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 Id. at 60.

         84.    The Accused ‘193 Products use “NetFlow, proxy servers, endpoint telemetry,

 policy and access engines, traffic segmentation and more to establish baseline ‘normal’

 behavior for hosts and users across the enterprise. Stealthwatch can correlate traffic with global

 threat behaviors to automatically identify infected hosts, command and control communication

 and suspicious traffic. Stealthwatch maintains a global risk map – a very broad behavioral

 profile about servers on the Internet, identifying servers that are related to attacks, may be

 exploited, or may be used as a part of an attack in the future (Figure 3). This is not a blacklist,

 but a holistic picture from a security perspective. Stealthwatch analyzes the new encrypted



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 traffic data elements in enhanced NetFlow by applying machine learning and statistical

 modeling. The global risk map and Encrypted Traffic Analytics data elements reinforce using

 advance security analytics. Rather than decrypting the traffic, Stealthwatch uses machine

 learning algorithms to pinpoint malicious patterns in encrypted traffic to help identify threats

 and improve incident response.” (Cisco Encrypted Traffic Analytics White Paper).

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-

 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 5.

        85.     As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

        86.     Cisco’s infringement of the ‘193 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

        87.     Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.

        88.     On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.




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        89.     Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        90.     In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.

        91.     Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.

        92.     Cisco’s infringement of the ‘193 Patent is egregious. Despite this knowledge,

 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

 technology, which it implemented into its products and services, such as Centripetal's

 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        93.     This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco




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 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        94.     Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘193 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘193 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

 egregiously engage in acts of infringement of the ‘193 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                              SECOND CAUSE OF ACTION
          (Indirect Infringement of the ‘193 Patent pursuant to 35 U.S.C. § 271(b))

        95.     Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        96.     Cisco has induced and continues to induce infringement of one or more claims

 of the ‘193 Patent under 35 U.S.C. § 271(b).

        97.     In addition to directly infringing the ‘193 Patent, Cisco indirectly infringes the

 ‘193 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

 including its customers, purchasers, users, and developers, to perform one or more of the steps

 of the method claims, either literally or under the doctrine of equivalents, of the ‘193 Patent,

 where all the steps of the method claims are performed by either Cisco, its customers,

 purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

 blind to the fact that it was inducing others, including customers, purchasers, users or

 developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

 more method claims of the ‘193 Patent, including Claims 1-17 and 20.



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        98.     Cisco knowingly and actively aided and abetted the direct infringement of the

 ‘193 Patent by instructing and encouraging its customers, purchasers, users and developers to

 use the ‘193 Accused Products. Such instructions and encouragement include, but are not

 limited to, advising third parties to use the ‘193 Accused Products in an infringing manner,

 providing a mechanism through which third parties may infringe the ‘193 Patent, specifically

 through the use of the Accused Catalyst Products, the Accused Router Products, and the

 Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

 and promoting the use of the ‘193 Accused Products in an infringing manner, and distributing

 guidelines and instructions to third parties on how to use the ‘193 Accused Products in an

 infringing manner.

        99.     Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

 administration guides, user guides, operating instructions, blogs, white papers, data sheets and

 training certification programs which cover in depth aspects of operating Cisco’s offerings.

 See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

 products-support-series-home.html, attached hereto as Exhibit 34;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 35;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 36;

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;




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 https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

 also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

 aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

 also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

 https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

 hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

 Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

 series-home.html, attached hereto as Exhibit 40;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

 list.html, attached hereto as Exhibit 41;

 https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

 9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

 configuration-guides-list.html, attached hereto as Exhibit 43;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

 guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

 events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

 hereto as Exhibit 45.

                              THIRD CAUSE OF ACTION
           (Direct Infringement of the ‘176 Patent pursuant to 35 U.S.C. § 271(a))

        100.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        101.    Cisco has infringed and continues to infringe Claims 1-30 of the ‘176 Patent in



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 violation of 35 U.S.C. § 271(a).

        102.    Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        103.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.

        104.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

 or in conjunction with one another (collectively, the “Accused ‘176 Products”).

        105.    The Accused ‘176 Products embody the patented invention of the ‘176 Patent

 and infringe the ‘176 Patent because they practice a method comprising:

    identifying, by a computing system, a plurality of packets received by a network device
        from a host located in a first network;

    generating, by the computing system, a plurality of log entries corresponding to the
       plurality of packets received by the network device;

    identifying, by the computing system, a plurality of packets transmitted by the network
        device to a host located in a second network;

    generating, by the computing system, a plurality of log entries corresponding to the
       plurality of packets transmitted by the network device;

    correlating, by the computing system and based on the plurality of log entries
        corresponding to the plurality of packets received by the network device and the
        plurality of log entries corresponding to the plurality of packets transmitted by the
        network device, the plurality of packets transmitted by the network device with the
        plurality of packets received by the network device; and

    responsive to correlating the plurality of packets transmitted by the network device with the
        plurality of packets received by the network device:

        generating, by the computing system and based on the correlating, one or more rules



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            configured to identify packets received from the host located in the first network;
            and

        provisioning a packet-filtering device with the one or more rules configured to identify
           packets received from the host located in the first network.

 ‘176 Patent, Claim 1.

        106.    As shown below, the Accused ‘176 Products perform the step of “identifying,

 by a computing system, a plurality of packets received by a network device from a host located

 in a first network”:




 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 5.

        107.    The Accused ‘176 Products include Cognitive Threat Analytics (“CTA”). CTA

 “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that has

 bypassed security controls, or entered through unmonitored channels (including removable

 media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a

 cloud-based product that uses machine learning and statistical modeling of networks. It creates



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 a baseline of the traffic in your network and identifies anomalies. It analyzes user and device

 behavior, and web traffic, to discover command-and-control communications, data exfiltration,

 and potentially unwanted applications operating in your infrastructure (Figure 1).”




 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        108.    CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.

 Organizations can integrate and automate their response with an established workflow.” Id.

        109.    The Accused ‘176 Products perform the step of “generating, by the computing

 system, a plurality of log entries corresponding to the plurality of packets received by the

 network device; identifying, by the computing system, a plurality of packets transmitted by the




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 network device to a host located in a second network,” “generating, by the computing system,

 a plurality of log entries corresponding to the plurality of packets transmitted by the network

 device,” and “correlating, by the computing system and based on the plurality of log entries

 corresponding to the plurality of packets received by the network device and the plurality of

 log entries corresponding to the plurality of packets transmitted by the network device, the

 plurality of packets transmitted by the network device with the plurality of packets received by

 the network device.” As shown below, the Accused ‘176 Products collect, store, and analyze

 both traditional flow data and intraflow metadata and “[o]btain contextual threat intelligence

 with real-time analysis correlated with user and device information.” Cisco Encrypted Traffic

 Analytics White Paper). https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-

 networks/enterprise-network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached

 hereto as Exhibit 25, at 2-4.




 Id. at 3.

         110.   The Accused ‘176 Products perform the step of “responsive to correlating the


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 plurality of packets transmitted by the network device with the plurality of packets received by

 the network device: generating, by the computing system and based on the correlating, one or

 more rules configured to identify packets received from the host located in the first network;

 and provisioning a packet-filtering device with the one or more rules configured to identify

 packets received from the host located in the first network.” As shown below, the Accused

 ‘176 Products “[o]btain contextual threat intelligence with real-time analysis correlated with

 user and device information”:




 Id. at 4.

         111.   As shown below, the Accused ‘176 Products “correlate traffic with global threat

 behaviors to automatically identify infected hosts, command and control communication and

 suspicious traffic”:




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  Id. at 5.

         112.   The Accused ‘176 Products include “intraflow metadata, called Encrypted

 Traffic Analytics (ETA), is derived by using new data elements or telemetry that are

 independent of protocol details, such as the lengths and arrival times of packets within a flow.

 These data elements have the property of applying equally well to both encrypted and

 unencrypted flows. ETA focuses on identifying malware communications in encrypted traffic

 through passive monitoring, the extraction of relevant data elements, and supervised machine

 learning with cloud based global visibility. ETA extracts three main data elements: the initial

 data packet, the sequence of packet length and times, and TLS-specific features.” (Encrypted

 Traffic Analytics Deployment Guide) CVD-Encrypted-Traffic-Analytics-Deployment-Guide-

 2017DEC.pdf, attached hereto as Exhibit 33, at 1.




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 Id. at 60.

         113.   The Accused ‘176 Products “extract[] four main data elements: the sequence of

 packet lengths and times, the byte distribution, TLS-specific features and the initial data

 packet. Cisco’s unique Application-Specific Integrated Circuit (ASIC) architecture provides

 the ability to extract these data elements without slowing down the data network,” which

 includes the Initial Data Packet (“IDP”). (Cisco Encrypted Traffic Analytics White Paper).

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-

 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 4.

 “IDP is used to obtain packet data from the first packet of a flow. It allows extraction of



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 interesting data such as an HTTP URL, DNS hostname/address and other data elements. The

 TLS handshake is composed of several messages that contain interesting, unencrypted

 metadata used to extract data elements such as cipher suites, TLS versions and the client’s

 public key length.” Id.

        114.    The Accused ‘176 Products use “NetFlow, proxy servers, endpoint telemetry,

 policy and access engines, traffic segmentation and more to establish baseline “normal”

 behavior for hosts and users across the enterprise. Stealthwatch can correlate traffic with global

 threat behaviors to automatically identify infected hosts, command and control communication

 and suspicious traffic. Stealthwatch maintains a global risk map – a very broad behavioral

 profile about servers on the Internet, identifying servers that are related to attacks, may be

 exploited, or may be used as a part of an attack in the future (Figure 3). This is not a blacklist,

 but a holistic picture from a security perspective. Stealthwatch analyzes the new encrypted

 traffic data elements in enhanced NetFlow by applying machine learning and statistical

 modeling. The global risk map and Encrypted Traffic Analytics data elements reinforce using

 advance security analytics. Rather than decrypting the traffic, Stealthwatch uses machine

 learning algorithms to pinpoint malicious patterns in encrypted traffic to help identify threats

 and improve incident response.” Id. at 5.

        115.    As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

        116.    Cisco’s infringement of the ‘176 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

        117.    Cisco has willfully infringed each of the Asserted Patents. Centripetal is




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 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.

        118.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        119.    Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        120.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.




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        121.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.

        122.    Cisco’s infringement of the ‘176 Patent is egregious. Despite this knowledge,

 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

 technology, which it implemented into its products and services, such as Centripetal's

 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        123.    This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        124.    Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘176 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘176 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

 egregiously engage in acts of infringement of the ‘176 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                              FOURTH CAUSE OF ACTION
          (Indirect Infringement of the ‘176 Patent pursuant to 35 U.S.C. § 271(b))

        125.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        126.    Cisco has induced and continues to induce infringement of one or more claims



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 of the ‘176 Patent under 35 U.S.C. § 271(b).

        127.    In addition to directly infringing the ‘176 Patent, Cisco indirectly infringes the

 ‘176 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

 including its customers, purchasers, users, and developers, to perform one or more of the steps

 of the method claims, either literally or under the doctrine of equivalents, of the ‘176 Patent,

 where all the steps of the method claims are performed by either Cisco, its customers,

 purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

 blind to the fact that it was inducing others, including customers, purchasers, users or

 developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

 more method claims of the ‘176 Patent, including Claims 1-10.

        128.    Cisco knowingly and actively aided and abetted the direct infringement of the

 ‘176 Patent by instructing and encouraging its customers, purchasers, users and developers to

 use the ‘176 Accused Products. Such instructions and encouragement include, but are not

 limited to, advising third parties to use the ‘176 Accused Products in an infringing manner,

 providing a mechanism through which third parties may infringe the ‘176 Patent, specifically

 through the use of the Accused Catalyst Products, the Accused Router Products, and the

 Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

 and promoting the use of the ‘176 Accused Products in an infringing manner, and distributing

 guidelines and instructions to third parties on how to use the ‘176 Accused Products in an

 infringing manner.

        129.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

 administration guides, user guides, operating instructions, blogs, white papers, data sheets and

 training certification programs which cover in depth aspects of operating Cisco’s offerings.




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 See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

 products-support-series-home.html, attached hereto as Exhibit 34;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 35;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 36;

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

 https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

 also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

 aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

 also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

 https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

 hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

 Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

 series-home.html, attached hereto as Exhibit 40;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

 list.html, attached hereto as Exhibit 41;

 https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

 9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;




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 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

 configuration-guides-list.html, attached hereto as Exhibit 43;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

 guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

 events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

 hereto as Exhibit 45.

                               FIFTH CAUSE OF ACTION
           (Direct Infringement of the ‘077 Patent pursuant to 35 U.S.C. § 271(a))

        130.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        131.    Cisco has infringed and continues to infringe Claims 1-20 of the ‘077 Patent in

 violation of 35 U.S.C. § 271(a).

        132.    Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        133.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.

        134.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

 or in conjunction with one another (collectively, the “Accused ‘077 Products”).

        135.    The Accused ‘077 Products embody the patented invention of the ‘077 Patent

 and infringe the ‘077 Patent because they practice a method comprising:

    provisioning, each device of a plurality of devices, with one or more rules generated based



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        on a boundary of a network protected by the plurality of devices with one or more
        networks other than the network protected by the plurality of devices at which the
        device is configured to be located; and

    configuring, each device of the plurality of devices, to:

        receive packets via a communication interface that does not have a network-layer
            address;

        responsive to a determination by the device that a portion of the packets received from
            or destined for a host located in the network protected by the plurality of devices
            corresponds to criteria specified by the one or more rules, drop the portion of the
            packets; and

        modify a switching matrix of a local area network (LAN) switch associated with the
          device such that the LAN switch is configured to drop the portion of the packets
          responsive to the determination by the device.

  ‘077 Patent, Claim 1.

        136.      As shown below, the Accused ‘077 Products perform the step of

 “provisioning, each device of a plurality of devices, with one or more rules generated based on

 a boundary of a network protected by the plurality of devices with one or more networks other

 than the network protected by the plurality of devices at which the device is configured to be

 located; and configuring, each device of the plurality of devices.” As shown below, the

 Accused ‘077 Products include “policy-based automation from edge to cloud with foundational

 capabilities”:




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  (Cisco Catalyst Data Sheet).
  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-
  switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17, at 1.

        137.    The Accused ‘077 Products “receive packets via a communication interface that

 does not have a network-layer address.” As shown below, the Accused ‘077 Products include

 Multi-layer Machine Learning to receive packets at multiple OSI layers:




 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 3.

        138.    The Accused ‘077 Products include Cognitive Threat Analytics (“CTA”). CTA



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 “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that has

 bypassed security controls, or entered through unmonitored channels (including removable

 media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a

 cloud-based product that uses machine learning and statistical modeling of networks. It creates

 a baseline of the traffic in your network and identifies anomalies. It analyzes user and device

 behavior, and web traffic, to discover command-and-control communications, data exfiltration,

 and potentially unwanted applications operating in your infrastructure (Figure 1).”




 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        139.    CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.




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 Organizations can integrate and automate their response with an established workflow.” Id.

        140.    The Accused ‘077 Products, “responsive to a determination by the device that a

 portion of the packets received from or destined for a host located in the network protected by

 the plurality of devices corresponds to criteria specified by the one or more rules, drop the

 portion of the packets; and modify a switching matrix of a local area network (LAN) switch

 associated with the device such that the LAN switch is configured to drop the portion of the

 packets responsive to the determination by the device.” As shown below, the Accused ‘077

 Products “turns the network into an end-to-end sensor and enforcer that detects, contains and

 prevents emerging sophisticated security threats”:




 (Cisco Encrypted Traffic Analytics White Paper).
 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at
 8.

        141.    As shown below, the Accused ‘077 Products include “policy-based automation

 from edge to cloud with foundational capabilities”:




  (Cisco Catalyst Data Sheet).


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  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-
  switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17, at 1.

        142.    As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

        143.    Cisco’s infringement of the ‘077 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

        144.    Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.

        145.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        146.    Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        147.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s



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 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.

        148.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.

        149.    Cisco’s infringement of the ‘077 Patent is egregious. Despite this knowledge,

 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

 technology, which it implemented into its products and services, such as Centripetal's

 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        150.    This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        151.    Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘077 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘077 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and




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 egregiously engage in acts of infringement of the ‘077 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                               SIXTH CAUSE OF ACTION
          (Indirect Infringement of the ‘077 Patent pursuant to 35 U.S.C. § 271(b))

        152.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        153.    Cisco has induced and continues to induce infringement of one or more claims

 of the ‘077 Patent under 35 U.S.C. § 271(b).

        154.    In addition to directly infringing the ‘077 Patent, Cisco indirectly infringes the

 ‘077 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

 including its customers, purchasers, users, and developers, to perform one or more of the steps

 of the method claims, either literally or under the doctrine of equivalents, of the ‘077 Patent,

 where all the steps of the method claims are performed by either Cisco, its customers,

 purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

 blind to the fact that it was inducing others, including customers, purchasers, users or

 developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

 more method claims of the ‘077 Patent, including Claims 1-6 and 19-20.

        155.    Cisco knowingly and actively aided and abetted the direct infringement of the

 ‘077 Patent by instructing and encouraging its customers, purchasers, users and developers to

 use the ‘077 Accused Products. Such instructions and encouragement include, but are not

 limited to, advising third parties to use the ‘077 Accused Products in an infringing manner,

 providing a mechanism through which third parties may infringe the ‘077 Patent, specifically

 through the use of the Accused Catalyst Products, the Accused Router Products, and the



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 Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

 and promoting the use of the ‘077 Accused Products in an infringing manner, and distributing

 guidelines and instructions to third parties on how to use the ‘077 Accused Products in an

 infringing manner.

        156.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

 administration guides, user guides, operating instructions, blogs, white papers, data sheets and

 training certification programs which cover in depth aspects of operating Cisco’s offerings.

 See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

 products-support-series-home.html, attached hereto as Exhibit 34;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 35;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 36;

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

 https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

 also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

 aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

 also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

 https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached




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 hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

 Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

 series-home.html, attached hereto as Exhibit 40;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

 list.html, attached hereto as Exhibit 41;

 https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

 9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

 configuration-guides-list.html, attached hereto as Exhibit 43;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

 guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

 events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

 hereto as Exhibit 45.

                             SEVENTH CAUSE OF ACTION
           (Direct Infringement of the ‘722 Patent pursuant to 35 U.S.C. § 271(a))

        157.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        158.    Cisco has infringed and continues to infringe Claims 1-20 of the ‘722 Patent in

 violation of 35 U.S.C. § 271(a).

        159.    Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        160.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.



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        161.      Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products and the Accused Router Products (collectively, the “Accused ‘722

 Products”).

        162.      The Accused ‘722 Products embody the patented invention of the ‘722 Patent

 and infringe the ‘722 Patent because they practice a method comprising:

     receiving, by a packet-filtering device, a plurality of packet-filtering rules
         configured to cause the packet-filtering device to identify packets
         corresponding to at least one of a plurality of network-threat indicators;

     receiving, by the packet-filtering device, a plurality of packets, wherein the
         plurality of packets comprises a first packet and a second packet;

     responsive to a determination by the packet-filtering device that the first packet
         satisfies one or more criteria, specified by a packet-filtering rule of the
         plurality of packet-filtering rules, that correspond to one or more network-
         threat indicators of the plurality of network-threat indicators:

         applying, by the packet-filtering device and to the first packet, an operator specified
            by the packet-filtering rule and configured to cause the packet-filtering device to
            allow the first packet to continue toward a destination of the first packet;

         communicating, by the packet-filtering device, information from the packet-
            filtering rule that identifies the one or more network-threat indicators, and
            data indicative that the first packet was allowed to continue toward the
            destination of the first packet;

         causing, by the packet-filtering device and in an interface, display of the
            information in at least one portion of the interface corresponding to the
            packet-filtering rule and the one or more network-threat indicators;

         receiving, by the packet-filtering device, an instruction generated in response to
             a user invoking an element in the at least one portion of the interface
             corresponding to the packet-filtering rule and the one or more network-threat
             indicators; and

         responsive to receiving the instruction:

               modifying, by the packet-filtering device, at least one operator specified by the
                 packet-filtering rule to reconfigure the packet-filtering device to prevent
                 packets corresponding to the one or more criteria from continuing toward
                 their respective destinations; and


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               responsive to a determination by the packet-filtering device that the
                   second packet corresponds to the one or more criteria:

                  preventing, by the packet-filtering device, the second packet from continuing
                     toward a destination of the second packet;

                  communicating, by the packet-filtering device, data indicative that the
                     second packet was prevented from continuing toward the destination
                     of the second packet; and

                  causing, by the packet-filtering device and in the interface, display of the data
                     indicative that the second packet was prevented from continuing toward the
                     destination of the second packet.

  ‘722 Patent, Claim 1.

        163.     The Accused ‘722 Products perform the steps of “receiving, by a packet-

 filtering device, a plurality of packet-filtering rules configured to cause the packet-filtering

 device to identify packets corresponding to at least one of a plurality of network-threat

 indicators” and “receiving, by the packet-filtering device, a plurality of packets, wherein the

 plurality of packets comprises a first packet and a second packet.” As shown below, the

 Accused ‘722 Products collect, store, and analyze both traditional flow data and intraflow

 metadata and “[o]btain contextual threat intelligence with real-time analysis correlated with

 user and device information.” (Cisco Encrypted Traffic Analytics White Paper).

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-

 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf., attached hereto as Exhibit 25, at 2-

 4.




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 Id. at 3.

         164.   The Accused ‘722 Products perform the steps of “responsive to a

 determination by the packet-filtering device that the first packet satisfies one or more criteria,

 specified by a packet-filtering rule of the plurality of packet-filtering rules, that correspond to

 one or more network-threat indicators of the plurality of network-threat indicators,” “applying,

 by the packet-filtering device and to the first packet, an operator specified by the packet-

 filtering rule and configured to cause the packet-filtering device to allow the first packet to

 continue toward a destination of the first packet,” and “communicating, by the packet-filtering

 device, information from the packet-filtering rule that identifies the one or more network-threat

 indicators, and data indicative that the first packet was allowed to continue toward the

 destination of the first packet.” As shown below, the Accused ‘722 Products “correlate traffic

 with global threat behaviors to automatically identify infected hosts, command and control

 communication and suspicious traffic”:




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 Id. at 5.

         165.   The Accused ‘722 Products use “NetFlow, proxy servers, endpoint telemetry,

 policy and access engines, traffic segmentation and more to establish baseline “normal”

 behavior for hosts and users across the enterprise. Stealthwatch can correlate traffic with global

 threat behaviors to automatically identify infected hosts, command and control communication

 and suspicious traffic. Stealthwatch maintains a global risk map – a very broad behavioral

 profile about servers on the Internet, identifying servers that are related to attacks, may be

 exploited, or may be used as a part of an attack in the future (Figure 3). This is not a blacklist,

 but a holistic picture from a security perspective. Stealthwatch analyzes the new encrypted

 traffic data elements in enhanced NetFlow by applying machine learning and statistical

 modeling. The global risk map and Encrypted Traffic Analytics data elements reinforce using

 advance security analytics. Rather than decrypting the traffic, Stealthwatch uses machine

 learning algorithms to pinpoint malicious patterns in encrypted traffic to help identify threats

 and improve incident response.” Id.



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         166.   The Accused ‘722 Products perform the steps of “causing, by the packet-

 filtering device and in an interface, display of the information in at least one portion of the

 interface corresponding to the packet-filtering rule and the one or more network-threat

 indicators” and “receiving, by the packet-filtering device, an instruction generated in response

 to a user invoking an element in the at least one portion of the interface corresponding to the

 packet-filtering rule and the one or more network-threat indicators.” As shown below, the

 Accused ‘722 Products’ “Security Insight dashboard… provides a view of affected users

 identified by risk type. An expanded dashboard provides detailed information regarding the top

 risk escalations and relative threat exposure”:




 Id. at 7.

         167.   The Accused ‘722 Products perform the steps of “responsive to receiving the

 instruction: modifying, by the packet-filtering device, at least one operator specified by the

 packet-filtering rule to reconfigure the packet-filtering device to prevent packets corresponding



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 to the one or more criteria from continuing toward their respective destinations” and

 “responsive to a determination by the packet-filtering device that the second packet

 corresponds to the one or more criteria: preventing, by the packet-filtering device, the second

 packet from continuing toward a destination of the second packet; communicating, by the

 packet-filtering device, data indicative that the second packet was prevented from continuing

 toward the destination of the second packet.” As shown below, the Accused ‘722 Products

 “turns the network into an end-to-end sensor and enforcer that detects, contains and prevents

 emerging sophisticated security threats”:




 Id. at 8.

         168.   “Upon discovery, a malicious encrypted flow can be blocked or quarantined by

 Stealthwatch. Policy-driven remediation actions via pxGrid using Cisco Identity Services

 Engine (ISE) with Cisco TrustSec® and Software-Defined Access (SD-Access) simplify and

 accelerate network security operations.” Id. at 6.

         169.   As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

         170.   Cisco’s infringement of the ‘722 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

         171.   Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious


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 behavior warranting enhanced damages.

        172.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        173.    Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        174.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.

        175.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.




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        176.    Cisco’s infringement of the ‘722 Patent is egregious. Despite this knowledge,

 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

 technology, which it implemented into its products and services, such as Centripetal's

 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        177.    This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        178.    Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘722 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘722 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

 egregiously engage in acts of infringement of the ‘722 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                              EIGHTH CAUSE OF ACTION
          (Indirect Infringement of the ‘722 Patent pursuant to 35 U.S.C. § 271(b))

        179.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        180.    Cisco has induced and continues to induce infringement of one or more claims

 of the ‘722 Patent under 35 U.S.C. § 271(b).

        181.    In addition to directly infringing the ‘722 Patent, Cisco indirectly infringes the



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 ‘722 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

 including its customers, purchasers, users, and developers, to perform one or more of the steps

 of the method claims, either literally or under the doctrine of equivalents, of the ‘722 Patent,

 where all the steps of the method claims are performed by either Cisco, its customers,

 purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

 blind to the fact that it was inducing others, including customers, purchasers, users or

 developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

 more method claims of the ‘722 Patent, including Claims 1-25.

        182.    Cisco knowingly and actively aided and abetted the direct infringement of the

 ‘722 Patent by instructing and encouraging its customers, purchasers, users and developers to

 use the ‘722 Accused Products. Such instructions and encouragement include, but are not

 limited to, advising third parties to use the ‘722 Accused Products in an infringing manner,

 providing a mechanism through which third parties may infringe the ‘722 Patent, specifically

 through the use of the Accused Catalyst Products, the Accused Router Products, and the

 Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

 and promoting the use of the ‘722 Accused Products in an infringing manner, and distributing

 guidelines and instructions to third parties on how to use the ‘722 Accused Products in an

 infringing manner.

        183.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

 administration guides, user guides, operating instructions, blogs, white papers, data sheets and

 training certification programs which cover in depth aspects of operating Cisco’s offerings.

 See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

 products-support-series-home.html, attached hereto as Exhibit 34;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-


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 support-series-home.html, attached hereto as Exhibit 35;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 36;

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

 https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

 also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

 aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

 also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

 https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

 hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

 Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

 series-home.html, attached hereto as Exhibit 40;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

 list.html, attached hereto as Exhibit 41;

 https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

 9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

 configuration-guides-list.html, attached hereto as Exhibit 43;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-




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 guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

 events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

 hereto as Exhibit 45.

                              NINTH CAUSE OF ACTION
           (Direct Infringement of the ‘806 Patent pursuant to 35 U.S.C. § 271(a))

        184.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        185.    Cisco has infringed and continues to infringe Claims 1-24 of the ‘806 Patent in

 violation of 35 U.S.C. § 271(a).

        186.    Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        187.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.

        188.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products, the Accused Router Products, the Accused ASA Products, and the Accused

 Stealthwatch Products, alone or in conjunction with one another (collectively, the “Accused

 ‘806 Products”).

        189.    The Accused ‘806 Products embody the patented invention of the ‘806 Patent

 and infringe the ‘806 Patent because they practice a method comprising:

    receiving, by a network protection device, a first rule set and a second rule set;

    preprocessing, by the network protection device, the first rule set and the second rule set to
       optimize performance of the network protection device for processing packets in
       accordance with at least one of the first rule set or the second rule set;



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    configuring at least two processors of the network protection device to process packets in
       accordance with the first rule set;

    after the preprocessing and the configuring, receiving, by the network protection device, a
        plurality of packets;

    processing, by the network protection device and in accordance with the first rule set, a
       portion of the plurality of packets;

    signaling, each processor of the at least two processors, to process packets in accordance
        with the second rule set; and

    configuring, each processor of the at least two processors, to responsive to the signaling to
       process packets in accordance with the second rule set:

        cease processing of one or more packets;

        cache the one or more packets;

        reconfigure to process packets in accordance with the second rule set;

        signal completion of reconfiguration to process packets in accordance with the second
            rule set; and

        responsive to receiving signaling that each other processor of the at least two processors
            has completed reconfiguration to process packets in accordance with the second
            rule set, process, in accordance with the second rule set, the one or more packets.

  ‘806 Patent, Claim 1.

        190.    The Accused ‘806 Products perform the steps of “receiving, by a network

 protection device, a first rule set and a second rule set; preprocessing, by the network

 protection device, the first rule set and the second rule set to optimize performance of the

 network protection device for processing packets in accordance with at least one of the first

 rule set or the second rule set; configuring at least two processors of the network protection

 device to process packets in accordance with the first rule set.” As shown below, the Accused

 ‘806 Products “enables policy-based automation from edge to cloud with foundational

 capabilities,” including “Simplified device deployment, Unified management of wired and




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 wireless networks, Network virtualization and segmentation, Group-based policies, and

 Context-based analytics.”




 (Cisco Catalyst 9300 Series Switches).
 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-
 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 1.

        191.    The Accused ‘806 Products perform the steps of “after the preprocessing and

 the configuring, receiving, by the network protection device, a plurality of packets; processing,

 by the network protection device and in accordance with the first rule set, a portion of the

 plurality of packets; signaling, each processor of the at least two processors, to process packets

 in accordance with the second rule set.” As shown below, the Accused ‘806 Products collect,

 store, and analyze both traditional flow data and intraflow metadata and “[o]btain contextual

 threat intelligence with real-time analysis correlated with user and device information.” (Cisco

 Encrypted Traffic Analytics White Paper).

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-

 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 2-



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 4.




 Id. at 3.

         192.   The Accused ‘806 Products perform the steps of “configuring, each processor of

 the at least two processors, to responsive to the signaling to process packets in accordance with

 the second rule set: cease processing of one or more packets; cache the one or more packets;

 reconfigure to process packets in accordance with the second rule set; signal completion of

 reconfiguration to process packets in accordance with the second rule set; and responsive to

 receiving signaling that each other processor of the at least two processors has completed

 reconfiguration to process packets in accordance with the second rule set, process, in

 accordance with the second rule set, the one or more packets.” As shown below, the Accused

 ‘806 Products “support high-speed policy edits (Adds/Deletes) with efficient resource

 allocation for scale, and secure implementation. With features such as ‘ACL Label-Sharing’

 and ‘Hitless ACL updates,’ the switches demonstrated programming of policy to the network

 without being compromised. A table-stakes requirement for dynamic policy based

 automation.” https://blogs.cisco.com/enterprise/wired-infrastructure-optimized-and-secure-


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 switching-resources, attached hereto as Exhibit 46, at 5.




 (Miercom-Report-Cisco-vs-Huawei-Network-Architecture-DR170921G.pdf, attached hereto

 as Exhibit 23, at 22.

        193.    The Accused ‘806 Products support “UADP 2.0 Application-Specific Integrated

 Circuit (ASIC) with programmable pipeline and microengine capabilities, along with template-

 based, configurable allocation of Layer 2 and Layer 3 forwarding, Access Control Lists

 (ACLs), and Quality of Service (QoS) entries.”

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 2.

        194.    The Accused ‘806 Products “are based on UADP 2.0 the second generation of

 UADP ASIC that comprises of 7.46 Billion transistors – one for every human being on this

 planet! In addition to programmability improvements of the ASIC pipeline, we have also

 introduced flexible tables on UADP 2.0 to enable universal deployments of the Catalyst 9000

 Switches. UADP 2.0 turns Catalyst 9K into a Swiss Army Knife style Switch by customization

 of available table (SRAM/TCAM) resources based on customer deployment requirements.

 Cisco currently offers four fully tested templates to cover the all places in the network.”

 https://communities.cisco.com/community/technology/enterprise_networks/blog/2017/06/20/ci


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 sco-catalyst-9000-series-of-switches-maximize-your-network-mileage, attached hereto as

 Exhibit 47 at 1.

        195.    The Accused ‘806 Products includes Transactional-Commit Modeling, which is

 “a new feature for rule updation” of ACL rules. With Transactional-Commit Modeling, “a rule

 update is applied after the rule compilation is completed; without affecting the rule matching

 performance. With the legacy model, rule updates take effect immediately but rule matching

 slows down during the rule compilation period. This feature is useful to prevent potential

 packet drops during large compilation of rules under high traffic conditions.”




 https://www.cisco.com/c/en/us/td/docs/security/asa/asa91/configuration/firewall/asa_91_firewa
 ll_config/access_rules.html, attached hereto as Exhibit 30, at 6-4.

        196.    As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

        197.    Cisco’s infringement of the ‘806 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

        198.    Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.

        199.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented


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 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        200.    Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        201.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2),

 attached hereto as Exhibit 32, at 3.

        202.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.

        203.    Cisco’s infringement of the ‘806 Patent is egregious. Despite this knowledge,

 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

 technology, which it implemented into its products and services, such as Centripetal's




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 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        204.    This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        205.    Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘806 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘806 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

 egregiously engage in acts of infringement of the ‘806 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                              TENTH CAUSE OF ACTION
          (Indirect Infringement of the ‘806 Patent pursuant to 35 U.S.C. § 271(b))

        206.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        207.    Cisco has induced and continues to induce infringement of one or more claims

 of the ‘806 Patent under 35 U.S.C. § 271(b).

        208.    In addition to directly infringing the ‘806 Patent, Cisco indirectly infringes the

 ‘806 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

 including its customers, purchasers, users, and developers, to perform one or more of the steps

 of the method claims, either literally or under the doctrine of equivalents, of the ‘806 Patent,



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 where all the steps of the method claims are performed by either Cisco, its customers,

 purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

 blind to the fact that it was inducing others, including customers, purchasers, users or

 developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

 more method claims of the ‘806 Patent, including Claims 1-8.

        209.    Cisco knowingly and actively aided and abetted the direct infringement of the

 ‘806 Patent by instructing and encouraging its customers, purchasers, users and developers to

 use the ‘806 Accused Products. Such instructions and encouragement include, but are not

 limited to, advising third parties to use the ‘806 Accused Products in an infringing manner,

 providing a mechanism through which third parties may infringe the ‘806 Patent, specifically

 through the use of the Accused Catalyst Products, the Accused Router Products, and the

 Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

 and promoting the use of the ‘806 Accused Products in an infringing manner, and distributing

 guidelines and instructions to third parties on how to use the ‘806 Accused Products in an

 infringing manner.

        210.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

 administration guides, user guides, operating instructions, blogs, white papers, data sheets and

 training certification programs which cover in depth aspects of operating Cisco’s offerings.

 See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

 products-support-series-home.html, attached hereto as Exhibit 34;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 35;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 36;


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 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

 https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

 also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

 aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

 also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

 https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

 hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

 Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

 series-home.html, attached hereto as Exhibit 40;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

 list.html, attached hereto as Exhibit 41;

 https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

 9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

 configuration-guides-list.html, attached hereto as Exhibit 43;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

 guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

 events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

 hereto as Exhibit 45.




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                            ELEVENTH CAUSE OF ACTION
           (Direct Infringement of the ‘713 Patent pursuant to 35 U.S.C. § 271(a))

        211.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        212.    Cisco has infringed and continues to infringe Claims 1-20 of the ‘713 Patent in

 violation of 35 U.S.C. § 271(a).

        213.    Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        214.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.

        215.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

 or in conjunction with one another (collectively, the “Accused ‘713 Products”).

        216.    The Accused ‘713 Products embody the patented invention of the ‘713 Patent

 and infringe the ‘713 Patent because they practice a method comprising:

    receiving, by a computing system provisioned with a plurality of packet-filtering rules, a
        first packet and a second packet;

    responsive to a determination by the computing system that the first packet comprises data
        corresponding to a transport layer security (TLS)-version value for which one or more
        packet-filtering rules of the plurality of packet-filtering rules indicate packets should be
        forwarded toward their respective destinations, forwarding, by the computing system,
        the first packet toward its destination; and

    responsive to a determination by the computing system that the second packet comprises
        data corresponding to a TLS-version value for which the one or more packet-filtering
        rules indicate packets should be blocked from continuing toward their respective
        destinations, dropping, by the computing system, the second packet.



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 ‘713 Patent, Claim 1.

        217.    The Accused ‘713 Products perform the steps of “receiving, by a computing

 system provisioned with a plurality of packet-filtering rules, a first packet and a second

 packet.” As shown below, the Accused ‘713 Products “correlate traffic with global threat

 behaviors to automatically identify infected hosts, command and control communication and

 suspicious traffic”:




  (Cisco Encrypted Traffic Analytics White Paper).
  https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
  network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at
  5.

        218.    The Accused ‘713 Products include Cognitive Threat Analytics (“CTA”). CTA

 “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that has

 bypassed security controls, or entered through unmonitored channels (including removable

 media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a

 cloud-based product that uses machine learning and statistical modeling of networks. It creates

 a baseline of the traffic in your network and identifies anomalies. It analyzes user and device


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 behavior, and web traffic, to discover command-and-control communications, data exfiltration,

 and potentially unwanted applications operating in your infrastructure (Figure 1).”




 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        219.    CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.

 Organizations can integrate and automate their response with an established workflow.” Id.

        220.    The Accused ‘713 Products perform the steps of “responsive to a determination

 by the computing system that the first packet comprises data corresponding to a transport layer

 security (TLS)-version value for which one or more packet-filtering rules of the plurality of

 packet-filtering rules indicate packets should be forwarded toward their respective destinations,

 forwarding, by the computing system, the first packet toward its destination.” The Accused


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 ‘713 Products “extract[] four main data elements: the sequence of packet lengths and times, the

 byte distribution, TLS-specific features and the initial data packet. Cisco’s unique Application-

 Specific Integrated Circuit (ASIC) architecture provides the ability to extract these data

 elements without slowing down the data network,” which includes the Initial Data Packet

 (“IDP”). (Cisco Encrypted Traffic Analytics White Paper).

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-

 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 4.

 “IDP is used to obtain packet data from the first packet of a flow. It allows extraction of

 interesting data such as an HTTP URL, DNS hostname/address and other data elements. The

 TLS handshake is composed of several messages that contain interesting, unencrypted

 metadata used to extract data elements such as cipher suites, TLS versions and the client’s

 public key length.” Id.




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  Id. at 8-9.



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         221.   The Accused ‘713 Products perform the steps of “responsive to a determination

 by the computing system that the second packet comprises data corresponding to a TLS-

 version value for which the one or more packet-filtering rules indicate packets should be

 blocked from continuing toward their respective destinations, dropping, by the computing

 system, the second packet.” As shown below, the Accused ‘713 Products “turns the network

 into an end-to-end sensor and enforcer that detects, contains and prevents emerging

 sophisticated security threats”:




 Id. at 8.

         222.   “Upon discovery, a malicious encrypted flow can be blocked or quarantined by

 Stealthwatch. Policy-driven remediation actions via pxGrid using Cisco Identity Services

 Engine (ISE) with Cisco TrustSec® and Software-Defined Access (SD-Access) simplify and

 accelerate network security operations.” Id. at 6.

         223.   As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

         224.   Cisco’s infringement of the ‘713 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

         225.   Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.


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        226.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        227.    Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        228.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.

        229.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.

        230.    Cisco’s infringement of the ‘713 Patent is egregious. Despite this knowledge,




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 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

 technology, which it implemented into its products and services, such as Centripetal's

 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        231.    This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        232.    Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘713 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘713 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

 egregiously engage in acts of infringement of the ‘713 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                             TWELFTH CAUSE OF ACTION
          (Indirect Infringement of the ‘713 Patent pursuant to 35 U.S.C. § 271(b))

        233.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        234.    Cisco has induced and continues to induce infringement of one or more claims

 of the ‘713 Patent under 35 U.S.C. § 271(b).

        235.    In addition to directly infringing the ‘713 Patent, Cisco indirectly infringes the

 ‘713 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,



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 including its customers, purchasers, users, and developers, to perform one or more of the steps

 of the method claims, either literally or under the doctrine of equivalents, of the ‘713 Patent,

 where all the steps of the method claims are performed by either Cisco, its customers,

 purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

 blind to the fact that it was inducing others, including customers, purchasers, users or

 developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

 more method claims of the ‘713 Patent, including Claims 1-7.

        236.    Cisco knowingly and actively aided and abetted the direct infringement of the

 ‘713 Patent by instructing and encouraging its customers, purchasers, users and developers to

 use the ‘713 Accused Products. Such instructions and encouragement include, but are not

 limited to, advising third parties to use the ‘713 Accused Products in an infringing manner,

 providing a mechanism through which third parties may infringe the ‘713 Patent, specifically

 through the use of the Accused Catalyst Products, the Accused Router Products, and the

 Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

 and promoting the use of the ‘713 Accused Products in an infringing manner, and distributing

 guidelines and instructions to third parties on how to use the ‘713 Accused Products in an

 infringing manner.

        237.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

 administration guides, user guides, operating instructions, blogs, white papers, data sheets and

 training certification programs which cover in depth aspects of operating Cisco’s offerings.

 See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

 products-support-series-home.html, attached hereto as Exhibit 34;

 https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 35;


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 https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

 support-series-home.html, attached hereto as Exhibit 36;

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

 switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

 https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

 switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

 https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

 also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

 aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

 also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

 routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

 https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

 hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

 Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

 series-home.html, attached hereto as Exhibit 40;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

 list.html, attached hereto as Exhibit 41;

 https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

 9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

 configuration-guides-list.html, attached hereto as Exhibit 43;

 https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

 guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-




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 events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

 hereto as Exhibit 45.

                           THIRTEENTH CAUSE OF ACTION
           (Direct Infringement of the ‘552 Patent pursuant to 35 U.S.C. § 271(a))

        238.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        239.    Cisco has infringed and continues to infringe Claims 1-21 of the ‘552 Patent in

 violation of 35 U.S.C. § 271(a).

        240.    Cisco’s infringement is based upon literal infringement or infringement under

 the doctrine of equivalents, or both.

        241.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

 infringing products and services have been without the permission, consent, authorization, or

 license of Centripetal.

        242.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

 offer for sale of Cisco’s products and services, including but not limited to the Accused

 Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

 or in conjunction with one another (collectively, the “Accused ‘552 Products”).

        243.    The Accused ‘552 Products embody the patented invention of the ‘552 Patent

 and infringe the ‘552 Patent because they practice a method comprising:

    at a computing device comprising at least one processor, a memory, and a communication
        interface:

        receiving, via the communication interface, a plurality of hypertext transfer protocol
            secure (HTTPS) packets;

        responsive to a determination by the at least one processor that at least a portion of the
            plurality of HTTPS packets have packet-header-field values corresponding to a
            packet filtering rule stored in the memory, applying, by the at least one processor,
            an operator specified by the packet-filtering rule to the at least a portion of the


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               plurality of HTTPS packets, wherein the operator specifies one or more application-
               header-field-value criteria identifying one or more transport layer security (TLS)-
               version values for which packets should be blocked from continuing toward their
               respective destinations; and

        responsive to a determination by the at least one processor that one or more packets, of
            the at least a portion of the plurality of HTTPS packets, have one or more
            application-header-field values corresponding to one or more TLS-version values of
            the one or more TLS-version values for which packets should be blocked from
            continuing toward their respective destinations, applying, by the at least one
            processor, at least one packet-transformation function specified by the operator to
            the one or more packets to block each packet of the one or more packets from
            continuing toward its respective destination.

 ‘552 Patent, Claim 1.

        244.      The Accused ‘552 Products are computing devices which perform the steps of

 the method of the ‘552 Patent. As shown below, the Accused ‘552 Products include “a

 computing device comprising at least one processor, a memory, and a communication

 interface.”




  (Cisco Featured Products).
  https://www.cisco.com/c/en/us/solutions/enterprise-networks/index.html#~stickynav=1,
  attached hereto as Exhibit 48.

        245.      As shown below, the Accused ‘552 Products include “Intel® x86 CPU complex

 with 8-GB memory, and 16 GB of flash and external USB 3.0 SSD pluggable storage slot to


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 host containers,”




  (Cisco Catalyst 9300 Series Switches).
  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-
  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 2.

         246.   As shown below, the Accused ‘552 Products include many configurations, all of

 which include communications ports.




  Id. at 3.

         247.   The Accused ‘552 Products perform the steps of “receiving, via the

 communication interface, a plurality of hypertext transfer protocol secure (HTTPS) packets;



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 responsive to a determination by the at least one processor that at least a portion of the plurality

 of HTTPS packets have packet-header-field values corresponding to a packet filtering rule

 stored in the memory.”

        248.    As shown below, the Accused ‘552 Products “correlate traffic with global threat

 behaviors to automatically identify infected hosts, command and control communication and

 suspicious traffic”:




  (Cisco Encrypted Traffic Analytics White Paper).
  https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
  network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at
  5.

        249.    The Accused ‘552 Products include Cognitive Threat Analytics (“CTA”). CTA

 “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that has

 bypassed security controls, or entered through unmonitored channels (including removable

 media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a

 cloud-based product that uses machine learning and statistical modeling of networks. It creates

 a baseline of the traffic in your network and identifies anomalies. It analyzes user and device


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 behavior, and web traffic, to discover command-and-control communications, data exfiltration,

 and potentially unwanted applications operating in your infrastructure (Figure 1).”




 https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
 analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

        250.    CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

 detects command-and-control communication in the web channel, it queries the AMP Threat

 Grid database and correlates the indicators of compromise with the millions of malware

 artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

 CTA also provides Automated Response and “integrates with existing security monitoring

 technologies, including Security Information and Event Management (SIEM) platforms.

 Organizations can integrate and automate their response with an established workflow.” Id.

        251.    The Accused ‘552 Products perform the steps of “applying, by the at least one

 processor, an operator specified by the packet-filtering rule to the at least a portion of the

 plurality of HTTPS packets, wherein the operator specifies one or more application-header-

 field-value criteria identifying one or more transport layer security (TLS)-version values for




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 which packets should be blocked from continuing toward their respective destinations.” The

 Accused ‘552 Products “extract[] four main data elements: the sequence of packet lengths and

 times, the byte distribution, TLS-specific features and the initial data packet. Cisco’s unique

 Application-Specific Integrated Circuit (ASIC) architecture provides the ability to extract these

 data elements without slowing down the data network,” which includes the Initial Data Packet

 (“IDP”). (Cisco Encrypted Traffic Analytics White Paper).

 https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-

 network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 4.

 “IDP is used to obtain packet data from the first packet of a flow. It allows extraction of

 interesting data such as an HTTP URL, DNS hostname/address and other data elements. The

 TLS handshake is composed of several messages that contain interesting, unencrypted

 metadata used to extract data elements such as cipher suites, TLS versions and the client’s

 public key length.” Id.




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  Id. at 8-9.



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         252.   The Accused ‘552 Products perform the steps of “responsive to a determination

 by the at least one processor that one or more packets, of the at least a portion of the plurality

 of HTTPS packets, have one or more application-header-field values corresponding to one or

 more TLS-version values of the one or more TLS-version values for which packets should be

 blocked from continuing toward their respective destinations, applying, by the at least one

 processor, at least one packet-transformation function specified by the operator to the one or

 more packets to block each packet of the one or more packets from continuing toward its

 respective destination.” As shown below, the Accused ‘552 Products “turns the network into

 an end-to-end sensor and enforcer that detects, contains and prevents emerging sophisticated

 security threats”:




 Id. at 8.

         253.   As a result of Cisco’s unlawful activities, Centripetal has suffered and will

 continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

 Centripetal is entitled to preliminary and/or permanent injunctive relief.

         254.   Cisco’s infringement of the ‘552 Patent has injured and continues to injure

 Centripetal in an amount to be proven at trial.

         255.   Cisco has willfully infringed each of the Asserted Patents. Centripetal is

 informed and believes that Cisco had knowledge of the Asserted Patents through various

 channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

 behavior warranting enhanced damages.

         256.   On or around 2014, Centripetal partnered with ThreatGRID, a company which


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 included threat intelligence technology which Centripetal integrated with their patented

 products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

 Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

 patented technology as a result of the acquisition of ThreatGRID.

 https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

 attached hereto as Exhibit 31.

        257.    Centripetal is further informed and believes that, on or around January 2016,

 Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

 Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

 Capital Partners.

        258.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

 partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

 “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

 conference and demonstrated its patented technology, including the RuleGATE Threat

 Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

 currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

 ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

 https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

 attached hereto as Exhibit 32, at 3.

        259.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

 technology and its Asserted Patents.

        260.    Cisco’s infringement of the ‘552 Patent is egregious. Despite this knowledge,

 Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented




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 technology, which it implemented into its products and services, such as Centripetal's

 CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

 The blatant copying of Centripetal's patented technology is egregious behavior warranting a

 finding of willful infringement and enhanced damages.

        261.    This further demonstrates that Cisco knew or, in the alternative, was willfully

 blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

 has acted with blatant and egregious disregard for Centripetal’s patent rights with an

 objectively high likelihood of infringement.

        262.    Centripetal is informed and believes that Cisco has undertaken no efforts to

 design these products or services around the ‘552 Patent to avoid infringement despite Cisco’s

 knowledge and understanding that its products and services infringe the ‘552 Patent. As such,

 Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

 egregiously engage in acts of infringement of the ‘552 Patent, justifying an award to

 Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

 under 35 U.S.C. § 285.

                           FOURTEENTH CAUSE OF ACTION
          (Indirect Infringement of the ‘552 Patent pursuant to 35 U.S.C. § 271(b))

        263.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

 herein, the allegations of the preceding paragraphs, as set forth above.

        264.    Cisco has induced and continues to induce infringement of one or more claims

 of the ‘552 Patent under 35 U.S.C. § 271(b).

        265.    In addition to directly infringing the ‘552 Patent, Cisco indirectly infringes the

 ‘552 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

 including its customers, purchasers, users, and developers, to perform one or more of the steps



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  of the method claims, either literally or under the doctrine of equivalents, of the ‘552 Patent,

  where all the steps of the method claims are performed by either Cisco, its customers,

  purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

  blind to the fact that it was inducing others, including customers, purchasers, users or

  developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

  more method claims of the ‘552 Patent, including Claims 1-7.

         266.    Cisco knowingly and actively aided and abetted the direct infringement of the

  ‘552 Patent by instructing and encouraging its customers, purchasers, users and developers to

  use the ‘552 Accused Products. Such instructions and encouragement include, but are not

  limited to, advising third parties to use the ‘552 Accused Products in an infringing manner,

  providing a mechanism through which third parties may infringe the ‘552 Patent, specifically

  through the use of the Accused Catalyst Products, the Accused Router Products, and the

  Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

  and promoting the use of the ‘552 Accused Products in an infringing manner, and distributing

  guidelines and instructions to third parties on how to use the ‘552 Accused Products in an

  infringing manner.

         267.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

  administration guides, user guides, operating instructions, blogs, white papers, data sheets and

  training certification programs which cover in depth aspects of operating Cisco’s offerings.

  See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

  products-support-series-home.html, attached hereto as Exhibit 34;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 35;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-


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  support-series-home.html, attached hereto as Exhibit 36;

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

  switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

  https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

  also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

  aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

  also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

  routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

  https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

  hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

  Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

  series-home.html, attached hereto as Exhibit 40;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

  list.html, attached hereto as Exhibit 41;

  https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

  9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

  configuration-guides-list.html, attached hereto as Exhibit 43;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

  guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

  events/training-certifications/certifications/associate/ccna-routing-switching.html, attached




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  hereto as Exhibit 45.

                             FIFTEENTH CAUSE OF ACTION
            (Direct Infringement of the ‘213 Patent pursuant to 35 U.S.C. § 271(a))

         268.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

  herein, the allegations of the preceding paragraphs, as set forth above.

         269.    Cisco has infringed and continues to infringe Claims 1-16 of the ‘213 Patent in

  violation of 35 U.S.C. § 271(a).

         270.    Cisco’s infringement is based upon literal infringement or infringement under

  the doctrine of equivalents, or both.

         271.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

  infringing products and services have been without the permission, consent, authorization, or

  license of Centripetal.

         272.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

  offer for sale of Cisco’s products and services, including but not limited to the Accused

  Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

  or in conjunction with one another (collectively, the “Accused ‘213 Products”).

         273.    The Accused ‘213 Products embody the patented invention of the ‘213 Patent

  and infringe the ‘213 Patent because they practice a method comprising:

     receiving, by each of a plurality of packet security gateways associated with a security
         policy management server and from the security policy management server, a dynamic
         security policy that comprises at least one rule specifying application-layer packet-
         header information and a packet transformation function comprising a packet digest
         logging function to be performed on packets comprising the application-layer packet-
         header information;

     receiving, by a packet security gateway of the plurality of packet security gateways,
         packets associated with a network protected by the packet security gateway;

     identifying, by the packet security gateway, from amongst the packets associated with the
         network protected by the packet security gateway, and on a packet-by-packet basis, one


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         or more packets comprising the application-layer packet-header information;

     performing, by the packet security gateway and on a packet-by-packet basis, the packet
         transformation function on each of the one or more packets comprising the application-
         layer packet-header information, wherein the performing the packet transformation
         function comprises

         identifying a subset of information specified by the packet digest logging function for
             each of the one or more packets comprising the application-layer packet-header
             information;

         generating, for each of the one or more packets comprising the application-layer
            packet-header information, a record comprising the subset of information specified
            by the packet digest logging function; and

         reformatting, for each of the one or more packets comprising the application-layer
             packet-header information, the subset of information specified by the packet digest
             logging function in accordance with a logging system standard; and

     routing, by the packet security gateway and on a packet-by-packet basis, to a monitoring
         device each of the one or more packets corresponding to the application-layer packet-
         header information in response to the performing the packet transformation function.

  ‘213 Patent, Claim 1.

         274.   The Accused ‘213 Products perform the step of “receiving, by each of a

  plurality of packet security gateways associated with a security policy management server and

  from the security policy management server, a dynamic security policy that comprises at least

  one rule specifying application-layer packet-header information and a packet transformation

  function comprising a packet digest logging function to be performed on packets comprising

  the application-layer packet-header information.” As shown below, the Accused ‘213 Products

  “enables policy-based automation from edge to cloud with foundational capabilities,” including

  “Simplified device deployment, Unified management of wired and wireless networks, Network

  virtualization and segmentation, Group-based policies, and Context-based analytics.”




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  (Cisco Catalyst 9300 Series Switches).
  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-
  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 1.

         275.    The Accused ‘213 Products perform the steps of “receiving, by a packet

  security gateway of the plurality of packet security gateways, packets associated with a

  network protected by the packet security gateway,” and “identifying, by the packet security

  gateway, from amongst the packets associated with the network protected by the packet

  security gateway, and on a packet-by-packet basis, one or more packets comprising the

  application-layer packet-header information”:




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  (Cisco Encrypted Traffic Analytics White Paper).
  https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
  network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 3.

         276.    The Accused ‘213 Products perform the steps of “performing, by the packet

  security gateway and on a packet-by-packet basis, the packet transformation function on each

  of the one or more packets comprising the application-layer packet-header information,

  wherein the performing the packet transformation function comprises,” “identifying a subset of

  information specified by the packet digest logging function for each of the one or more packets

  comprising the application-layer packet-header information,” “generating, for each of the one

  or more packets comprising the application-layer packet-header information, a record

  comprising the subset of information specified by the packet digest logging function,” and

  “reformatting, for each of the one or more packets comprising the application-layer packet-

  header information, the subset of information specified by the packet digest logging function in

  accordance with a logging system standard.”

         277.    The Accused ‘213 Products include Cognitive Threat Analytics (“CTA”). CTA

  “[a]nalyz[es] more than 10 billion web requests daily, [and] finds malicious activity that has


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  bypassed security controls, or entered through unmonitored channels (including removable

  media), and is operating inside an organization’s environment. Cognitive Threat Analytics is a

  cloud-based product that uses machine learning and statistical modeling of networks. It creates

  a baseline of the traffic in your network and identifies anomalies. It analyzes user and device

  behavior, and web traffic, to discover command-and-control communications, data exfiltration,

  and potentially unwanted applications operating in your infrastructure (Figure 1).”




  https://www.cisco.com/c/en/us/products/collateral/security/cognitive-threat-
  analytics/datasheet-c78-736557.html, attached hereto as Exhibit 29, at 1.

         278.    CTA “is integrated with Cisco AMP Threat Grid. When CTA independently

  detects command-and-control communication in the web channel, it queries the AMP Threat

  Grid database and correlates the indicators of compromise with the millions of malware

  artifacts seen by AMP Threat Grid to identify the malware that caused the anomaly.” Id. at 2.

  CTA also provides Automated Response and “integrates with existing security monitoring

  technologies, including Security Information and Event Management (SIEM) platforms.

  Organizations can integrate and automate their response with an established workflow.” Id.




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          279.   As shown below, the Accused ‘213 Products collect, store, and analyze both

  traditional flow data and intraflow metadata and “[o]btain contextual threat intelligence with

  real-time analysis correlated with user and device information.” (Cisco Encrypted Traffic

  Analytics White Paper). https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-

  networks/enterprise-network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached

  hereto as Exhibit 25, at 2-4.




  Id. at 3.

          280.   As shown below, the Accused ‘213 Products’ “Security Insight dashboard . . .

  provides a view of affected users identified by risk type. An expanded dashboard provides

  detailed information regarding the top risk escalations and relative threat exposure”:




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  Id. at 6.

          281.   The Accused ‘213 Products perform the step of “routing, by the packet security

  gateway and on a packet-by-packet basis, to a monitoring device each of the one or more

  packets corresponding to the application-layer packet-header information in response to the

  performing the packet transformation function.”

          282.   As shown below, the Accused ‘213 Products include “policy-based automation

  from edge to cloud with foundational capabilities”:




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   (Cisco Catalyst Data Sheet).
   https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-
   switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17, at 1.

         283.    As shown below, the Accused ‘213 Products “correlate traffic with global threat

  behaviors to automatically identify infected hosts, command and control communication and

  suspicious traffic”:




   (Cisco Encrypted Traffic Analytics White Paper).
   https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
   network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at
   5.


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         284.    As a result of Cisco’s unlawful activities, Centripetal has suffered and will

  continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

  Centripetal is entitled to preliminary and/or permanent injunctive relief.

         285.    Cisco’s infringement of the ‘213 Patent has injured and continues to injure

  Centripetal in an amount to be proven at trial.

         286.    Cisco has willfully infringed each of the Asserted Patents. Centripetal is

  informed and believes that Cisco had knowledge of the Asserted Patents through various

  channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

  behavior warranting enhanced damages.

         287.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

  included threat intelligence technology which Centripetal integrated with their patented

  products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.

  Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

  patented technology as a result of the acquisition of ThreatGRID.

  https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

  attached hereto as Exhibit 31.

         288.    Centripetal is further informed and believes that, on or around January 2016,

  Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

  Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

  Capital Partners.

         289.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

  partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

  “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live




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  conference and demonstrated its patented technology, including the RuleGATE Threat

  Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

  currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

  ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

  https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

  attached hereto as Exhibit 32, at 3.

         290.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

  technology and its Asserted Patents.

         291.    Cisco’s infringement of the ‘213 Patent is egregious. Despite this knowledge,

  Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

  technology, which it implemented into its products and services, such as Centripetal's

  CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.

  The blatant copying of Centripetal's patented technology is egregious behavior warranting a

  finding of willful infringement and enhanced damages.

         292.    This further demonstrates that Cisco knew or, in the alternative, was willfully

  blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

  has acted with blatant and egregious disregard for Centripetal’s patent rights with an

  objectively high likelihood of infringement.

         293.    Centripetal is informed and believes that Cisco has undertaken no efforts to

  design these products or services around the ‘213 Patent to avoid infringement despite Cisco’s

  knowledge and understanding that its products and services infringe the ‘213 Patent. As such,

  Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

  egregiously engage in acts of infringement of the ‘213 Patent, justifying an award to




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  Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

  under 35 U.S.C. § 285.

                             SIXTEENTH CAUSE OF ACTION
           (Indirect Infringement of the ‘213 Patent pursuant to 35 U.S.C. § 271(b))

         294.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

  herein, the allegations of the preceding paragraphs, as set forth above.

         295.    Cisco has induced and continues to induce infringement of one or more claims

  of the ‘213 Patent under 35 U.S.C. § 271(b).

         296.    In addition to directly infringing the ‘213 Patent, Cisco indirectly infringes the

  ‘213 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

  including its customers, purchasers, users, and developers, to perform one or more of the steps

  of the method claims, either literally or under the doctrine of equivalents, of the ‘213 Patent,

  where all the steps of the method claims are performed by either Cisco, its customers,

  purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

  blind to the fact that it was inducing others, including customers, purchasers, users or

  developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

  more method claims of the ‘213 Patent, including Claims 1-16.

         297.    Cisco knowingly and actively aided and abetted the direct infringement of the

  ‘213 Patent by instructing and encouraging its customers, purchasers, users and developers to

  use the ‘213 Accused Products. Such instructions and encouragement include, but are not

  limited to, advising third parties to use the ‘213 Accused Products in an infringing manner,

  providing a mechanism through which third parties may infringe the ‘213 Patent, specifically

  through the use of the Accused Catalyst Products, the Accused Router Products, and the

  Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising



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  and promoting the use of the ‘213 Accused Products in an infringing manner, and distributing

  guidelines and instructions to third parties on how to use the ‘213 Accused Products in an

  infringing manner.

         298.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

  administration guides, user guides, operating instructions, blogs, white papers, data sheets and

  training certification programs which cover in depth aspects of operating Cisco’s offerings.

  See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

  products-support-series-home.html, attached hereto as Exhibit 34;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 35;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 36;

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

  switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

  https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

  also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

  aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

  also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

  routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

  https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

  hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as




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  Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

  series-home.html, attached hereto as Exhibit 40;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

  list.html, attached hereto as Exhibit 41;

  https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

  9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

  configuration-guides-list.html, attached hereto as Exhibit 43;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

  guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

  events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

  hereto as Exhibit 45.

                            SEVENTEENTH CAUSE OF ACTION
            (Direct Infringement of the ‘205 Patent pursuant to 35 U.S.C. § 271(a))

         299.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

  herein, the allegations of the preceding paragraphs, as set forth above.

         300.    Cisco has infringed and continues to infringe Claims 1-96 of the ‘205 Patent in

  violation of 35 U.S.C. § 271(a).

         301.    Cisco’s infringement is based upon literal infringement or infringement under

  the doctrine of equivalents, or both.

         302.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

  infringing products and services have been without the permission, consent, authorization, or

  license of Centripetal.

         303.    Cisco’s infringement includes the manufacture, use, sale, importation and/or



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  offer for sale of Cisco’s products and services, including but not limited to the Accused

  Catalyst Products, the Accused Router Products, and the Accused Stealthwatch Products, alone

  or in conjunction with one another (collectively, the “Accused ‘205 Products”).

         304.    The Accused ‘205 Products embody the patented invention of the ‘205 Patent

  and infringe the ‘205 Patent because they practice a method comprising:

     at each packet security gateway of one or more packet security gateways associated with a
         security policy management server:

         receiving a plurality of dynamic security policies from the security policy management
            server, wherein receiving the plurality of dynamic security policies comprises:

            receiving at least one rule specifying a set of network addresses for which associated
               packets should be forwarded and at least one rule specifying that all packets
               associated with network addresses outside the set of network addresses for which
               packets should be forwarded should be dropped;

            receiving, at a first time, a dynamic security policy specifying a first set of network
               addresses for which packets should be forwarded;

            receiving, at a second time, a dynamic security policy specifying a second set of
               network addresses for which packets should be forwarded; and

            receiving, at a third time, a dynamic security policy specifying a third set of network
               addresses for which packets should be forwarded, the second time being after the
               first time, the third time being after the second time, the second set of network
               addresses including more network addresses than the first set of network
               addresses, and the third set of network addresses including more network
               addresses than the second set of network addresses;

     receiving packets associated with a network protected by the packet security gateway; and

     performing, on a packet by packet basis, at least one of multiple packet transformation
         functions specified by the plurality of dynamic security policies on the packets
         associated with the network protected by the packet security gateway, wherein
         performing the at least one of the multiple packet transformation functions specified by
         the plurality of dynamic security policies on the packets comprises performing at least
         one packet transformation function other than forwarding or dropping the packets.

  ‘205 Patent, Claim 1.

         305.    The Accused ‘205 Products perform the steps of “at each packet security



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  gateway of one or more packet security gateways associated with a security policy

  management server: receiving a plurality of dynamic security policies from the security policy

  management server, wherein receiving the plurality of dynamic security policies comprises:”

  “receiving at least one rule specifying a set of network addresses for which associated packets

  should be forwarded and at least one rule specifying that all packets associated with network

  addresses outside the set of network addresses for which packets should be forwarded should

  be dropped,” “receiving, at a first time, a dynamic security policy specifying a first set of

  network addresses for which packets should be forwarded,” “receiving, at a second time, a

  dynamic security policy specifying a second set of network addresses for which packets should

  be forwarded,” and “receiving, at a third time, a dynamic security policy specifying a third set

  of network addresses for which packets should be forwarded, the second time being after the

  first time, the third time being after the second time, the second set of network addresses

  including more network addresses than the first set of network addresses, and the third set of

  network addresses including more network addresses than the second set of network

  addresses.” As shown below, the Accused ‘205 Products “enables policy-based automation

  from edge to cloud with foundational capabilities,” including “Simplified device deployment,

  Unified management of wired and wireless networks, Network virtualization and

  segmentation, Group-based policies, and Context-based analytics.”




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  (Cisco Catalyst 9300 Series Switches).
  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-
  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 1.

         306.   The Accused ‘205 Products perform the step of “receiving packets associated

  with a network protected by the packet security gateway.”




  (Cisco Encrypted Traffic Analytics White Paper).
  https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-


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  network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at 3.

         307.    The Accused ‘205 Products perform the step of “performing, on a packet by

  packet basis, at least one of multiple packet transformation functions specified by the plurality

  of dynamic security policies on the packets associated with the network protected by the packet

  security gateway, wherein performing the at least one of the multiple packet transformation

  functions specified by the plurality of dynamic security policies on the packets comprises

  performing at least one packet transformation function other than forwarding or dropping the

  packets.”

         308.    As shown below, the Accused ‘205 Products include “policy-based automation

  from edge to cloud with foundational capabilities”:




   (Cisco Catalyst Data Sheet).
   https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-
   switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17, at 1.

         309.    As shown below, the Accused ‘205 Products “correlate traffic with global threat

  behaviors to automatically identify infected hosts, command and control communication and

  suspicious traffic”:




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   (Cisco Encrypted Traffic Analytics White Paper).
   https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-networks/enterprise-
   network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached hereto as Exhibit 25, at
   5.

         310.    As a result of Cisco’s unlawful activities, Centripetal has suffered and will

  continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

  Centripetal is entitled to preliminary and/or permanent injunctive relief.

         311.    Cisco’s infringement of the ‘205 Patent has injured and continues to injure

  Centripetal in an amount to be proven at trial.

         312.    Cisco has willfully infringed each of the Asserted Patents. Centripetal is

  informed and believes that Cisco had knowledge of the Asserted Patents through various

  channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

  behavior warranting enhanced damages.

         313.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

  included threat intelligence technology which Centripetal integrated with their patented

  products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.


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  Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

  patented technology as a result of the acquisition of ThreatGRID.

  https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

  attached hereto as Exhibit 31.

         314.    Centripetal is further informed and believes that, on or around January 2016,

  Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

  Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

  Capital Partners.

         315.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

  partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

  “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

  conference and demonstrated its patented technology, including the RuleGATE Threat

  Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

  currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

  ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

  https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

  attached hereto as Exhibit 32, at 3.

         316.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

  technology and its Asserted Patents.

         317.    Cisco’s infringement of the ‘205 Patent is egregious. Despite this knowledge,

  Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

  technology, which it implemented into its products and services, such as Centripetal's

  CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.




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  The blatant copying of Centripetal's patented technology is egregious behavior warranting a

  finding of willful infringement and enhanced damages.

         318.    This further demonstrates that Cisco knew or, in the alternative, was willfully

  blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

  has acted with blatant and egregious disregard for Centripetal’s patent rights with an

  objectively high likelihood of infringement.

         319.    Centripetal is informed and believes that Cisco has undertaken no efforts to

  design these products or services around the ‘205 Patent to avoid infringement despite Cisco’s

  knowledge and understanding that its products and services infringe the ‘205 Patent. As such,

  Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

  egregiously engage in acts of infringement of the ‘205 Patent, justifying an award to

  Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

  under 35 U.S.C. § 285.

                             EIGHTEENTH CAUSE OF ACTION
           (Indirect Infringement of the ‘205 Patent pursuant to 35 U.S.C. § 271(b))

         320.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

  herein, the allegations of the preceding paragraphs, as set forth above.

         321.    Cisco has induced and continues to induce infringement of one or more claims

  of the ‘205 Patent under 35 U.S.C. § 271(b).

         322.    In addition to directly infringing the ‘205 Patent, Cisco indirectly infringes the

  ‘205 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

  including its customers, purchasers, users, and developers, to perform one or more of the steps

  of the method claims, either literally or under the doctrine of equivalents, of the ‘205 Patent,

  where all the steps of the method claims are performed by either Cisco, its customers,



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  purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

  blind to the fact that it was inducing others, including customers, purchasers, users or

  developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

  more method claims of the ‘205 Patent, including Claims 1-16, 49-62, and 91-96.

         323.    Cisco knowingly and actively aided and abetted the direct infringement of the

  ‘205 Patent by instructing and encouraging its customers, purchasers, users and developers to

  use the ‘205 Accused Products. Such instructions and encouragement include, but are not

  limited to, advising third parties to use the ‘205 Accused Products in an infringing manner,

  providing a mechanism through which third parties may infringe the ‘205 Patent, specifically

  through the use of the Accused Catalyst Products, the Accused Router Products, and the

  Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

  and promoting the use of the ‘205 Accused Products in an infringing manner, and distributing

  guidelines and instructions to third parties on how to use the ‘205 Accused Products in an

  infringing manner.

         324.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

  administration guides, user guides, operating instructions, blogs, white papers, data sheets and

  training certification programs which cover in depth aspects of operating Cisco’s offerings.

  See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

  products-support-series-home.html, attached hereto as Exhibit 34;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 35;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 36;




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  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

  switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

  https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

  also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

  aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

  also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

  routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

  https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

  hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

  Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

  series-home.html, attached hereto as Exhibit 40;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

  list.html, attached hereto as Exhibit 41;

  https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

  9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

  configuration-guides-list.html, attached hereto as Exhibit 43;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

  guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

  events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

  hereto as Exhibit 45.




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                            NINETEENTH CAUSE OF ACTION
            (Direct Infringement of the ‘148 Patent pursuant to 35 U.S.C. § 271(a))

         325.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

  herein, the allegations of the preceding paragraphs, as set forth above.

         326.    Cisco has infringed and continues to infringe Claims 1-24 of the ‘148 Patent in

  violation of 35 U.S.C. § 271(a).

         327.    Cisco’s infringement is based upon literal infringement or infringement under

  the doctrine of equivalents, or both.

         328.    Cisco’s acts of making, using, importing, selling, and/or offering for sale

  infringing products and services have been without the permission, consent, authorization, or

  license of Centripetal.

         329.    Cisco’s infringement includes the manufacture, use, sale, importation and/or

  offer for sale of Cisco’s products and services, including but not limited to the Accused

  Catalyst Products, the Accused Router Products, the Accused ASA Products, and the Accused

  Stealthwatch Products, alone or in conjunction with one another (collectively, the “Accused

  ‘148 Products”).

         330.    The Accused ‘148 Products embody the patented invention of the ‘148 Patent

  and infringe the ‘148 Patent because they practice a method comprising:

     preprocessing, by a network device, a first rule set and a second rule set;

     configuring the network device to process packets in accordance with the first rule set;

     receiving, after the preprocessing and the configuring, by the network device, a plurality of
         packets;

     processing, by the network device, a first portion of the plurality of packets in accordance
        with the first rule set;

     signaling the network device to process packets in accordance with the second rule set; and



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     responsive to the signaling:

         ceasing processing of one or more packets;

         caching the one or more packets;

         reconfiguring the network device to process packets in accordance with the second rule
             set;

         signaling completion of reconfiguration to process packets in accordance with the
             second rule set; and

         responsive to the signaling completion of reconfiguration, processing the one or more
             cached packets in accordance with the second rule set.

  ‘148 Patent, Claim 1.

         331.    The Accused ‘148 Products perform the steps of “preprocessing, by a network

  device, a first rule set and a second rule set” and “configuring the network device to process

  packets in accordance with the first rule set.”

         332.    As shown below, the Accused ‘148 Products “enables policy-based automation

  from edge to cloud with foundational capabilities,” including “Simplified device deployment,

  Unified management of wired and wireless networks, Network virtualization and

  segmentation, Group-based policies, and Context-based analytics.”




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  (Cisco Catalyst 9300 Series Switches).
  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-
  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 1.

         333.    The Accused ‘148 Products perform the steps of “receiving, after the

  preprocessing and the configuring, by the network device, a plurality of packets” and

  “processing, by the network device, a first portion of the plurality of packets in accordance

  with the first rule set.” As shown below, the Accused ‘148 Products collect, store, and analyze

  both traditional flow data and intraflow metadata and “[o]btain contextual threat intelligence

  with real-time analysis correlated with user and device information.” (Cisco Encrypted Traffic

  Analytics White Paper). https://www.cisco.com/c/dam/en/us/solutions/collateral/enterprise-

  networks/enterprise-network-security/nb-09-encrytd-traf-anlytcs-wp-cte-en.pdf, attached

  hereto as Exhibit 25, at 2-4.




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  Id. at 3.

          334.   The Accused ‘148 Products perform the steps of “signaling the network device

  to process packets in accordance with the second rule set,” “responsive to the signaling:

  ceasing processing of one or more packets; caching the one or more packets; reconfiguring the

  network device to process packets in accordance with the second rule set; signaling completion

  of reconfiguration to process packets in accordance with the second rule set,” and “responsive

  to the signaling completion of reconfiguration, processing the one or more cached packets in

  accordance with the second rule set.” As shown below, the Accused ‘148 Products “support

  high-speed policy edits (Adds/Deletes) with efficient resource allocation for scale, and secure

  implementation. With features such as ‘ACL Label-Sharing’ and ‘Hitless ACL updates,’ the

  switches demonstrated programming of policy to the network without being compromised. A

  table-stakes requirement for dynamic policy based automation.”

  https://blogs.cisco.com/enterprise/wired-infrastructure-optimized-and-secure-switching-

  resources, attached hereto as Exhibit 46, at 5.




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  Miercom-Report-Cisco-vs-Huawei-Network-Architecture-DR170921G.pdf, attached hereto

  as Exhibit 23, at 22.

         335.    The Accused ‘148 Products support “UADP 2.0 Application-Specific Integrated

  Circuit (ASIC) with programmable pipeline and microengine capabilities, along with template-

  based, configurable allocation of Layer 2 and Layer 3 forwarding, Access Control Lists

  (ACLs), and Quality of Service (QoS) entries.”

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16, at 2.

         336.    The Accused ‘148 Products “are based on UADP 2.0 the second generation of

  UADP ASIC that comprises of 7.46 Billion transistors – one for every human being on this

  planet! In addition to programmability improvements of the ASIC pipeline, we have also

  introduced flexible tables on UADP 2.0 to enable universal deployments of the Catalyst 9000

  Switches. UADP 2.0 turns Catalyst 9K into a Swiss Army Knife style Switch by customization

  of available table (SRAM/TCAM) resources based on customer deployment requirements.

  Cisco currently offers four fully tested templates to cover the all places in the network.”

  https://communities.cisco.com/community/technology/enterprise_networks/blog/2017/06/20/ci

  sco-catalyst-9000-series-of-switches-maximize-your-network-mileage, attached hereto as


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  Exhibit 47, at 1.

         337.    The Accused ‘148 Products includes Transactional-Commit Modeling, which is

  “a new feature for rule updation” of ACL rules. With Transactional-Commit Modeling, “a rule

  update is applied after the rule compilation is completed; without affecting the rule matching

  performance. With the legacy model, rule updates take effect immediately but rule matching

  slows down during the rule compilation period. This feature is useful to prevent potential

  packet drops during large compilation of rules under high traffic conditions.”




  https://www.cisco.com/c/en/us/td/docs/security/asa/asa91/configuration/firewall/asa_91_firewa
  ll_config/access_rules.html, attached hereto as Exhibit 30, at 6-4.

         338.    As a result of Cisco’s unlawful activities, Centripetal has suffered and will

  continue to suffer irreparable harm for which there is no adequate remedy at law. Accordingly,

  Centripetal is entitled to preliminary and/or permanent injunctive relief.

         339.    Cisco’s infringement of the ‘148 Patent has injured and continues to injure

  Centripetal in an amount to be proven at trial.

         340.    Cisco has willfully infringed each of the Asserted Patents. Centripetal is

  informed and believes that Cisco had knowledge of the Asserted Patents through various

  channels and despite its knowledge of Centripetal’s patent rights, engaged in egregious

  behavior warranting enhanced damages.

         341.    On or around 2014, Centripetal partnered with ThreatGRID, a company which

  included threat intelligence technology which Centripetal integrated with their patented

  products that used some of the Asserted Patents. Cisco later acquired ThreatGRID in 2016.


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  Centripetal is informed and believes that Cisco gained increased exposure to Centripetal’s

  patented technology as a result of the acquisition of ThreatGRID.

  https://www.cisco.com/c/en/us/about/corporate-strategy-office/acquisitions/threatgrid.html,

  attached hereto as Exhibit 31.

         342.    Centripetal is further informed and believes that, on or around January 2016,

  Cisco requested an introduction to Centripetal through a third party, Granite Hill Capital

  Partners. Later, Centripetal received a point of contact introduction to Cisco from Granite Hill

  Capital Partners.

         343.    In 2016, Cisco invited Centripetal to participate in Cisco Live, which is Cisco’s

  partner conference – in which Centripetal was asked to demonstrate its technology in Cisco’s

  “Security Partner Village” booth. On or around June 2016, Centripetal attended the Cisco Live

  conference and demonstrated its patented technology, including the RuleGATE Threat

  Intelligence Gateway product which encompasses at least some of the Asserted Patents. Cisco

  currently lists Centripetal on its website located at www.cisco.com, as part of a “partner

  ecosystem” whose “[t]hreat intelligence platforms” use Threat Grid.

  https://www.cisco.com/c/en/us/products/security/threat-grid/integrations.html#~stickynav=2,

  attached hereto as Exhibit 32, at 3.

         344.    Cisco thus knew or, in the alternative, was willfully blind to Centripetal’s

  technology and its Asserted Patents.

         345.    Cisco’s infringement of the ‘148 Patent is egregious. Despite this knowledge,

  Centripetal is informed and believes that Cisco deliberately copied Centripetal's patented

  technology, which it implemented into its products and services, such as Centripetal's

  CleanINTERNET service and Threat Intelligence Gateway, including the RuleGATE 2000.




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  The blatant copying of Centripetal's patented technology is egregious behavior warranting a

  finding of willful infringement and enhanced damages.

         346.    This further demonstrates that Cisco knew or, in the alternative, was willfully

  blind to Centripetal’s Asserted Patents. Despite this knowledge and/or willful blindness, Cisco

  has acted with blatant and egregious disregard for Centripetal’s patent rights with an

  objectively high likelihood of infringement.

         347.    Centripetal is informed and believes that Cisco has undertaken no efforts to

  design these products or services around the ‘148 Patent to avoid infringement despite Cisco’s

  knowledge and understanding that its products and services infringe the ‘148 Patent. As such,

  Cisco has acted and continues to act recklessly, willfully, wantonly, deliberately, and

  egregiously engage in acts of infringement of the ‘148 Patent, justifying an award to

  Centripetal of increased damages under 35 U.S.C. § 284, and attorneys’ fees and costs incurred

  under 35 U.S.C. § 285.

                             TWENTIENTH CAUSE OF ACTION
           (Indirect Infringement of the ‘148 Patent pursuant to 35 U.S.C. § 271(b))

         348.    Centripetal repeats, realleges, and incorporates by reference, as if fully set forth

  herein, the allegations of the preceding paragraphs, as set forth above.

         349.    Cisco has induced and continues to induce infringement of one or more claims

  of the ‘148 Patent under 35 U.S.C. § 271(b).

         350.    In addition to directly infringing the ‘148 Patent, Cisco indirectly infringes the

  ‘148 Patent pursuant to 35 U.S.C. § 271(b) by instructing, directing and/or requiring others,

  including its customers, purchasers, users, and developers, to perform one or more of the steps

  of the method claims, either literally or under the doctrine of equivalents, of the ‘148 Patent,

  where all the steps of the method claims are performed by either Cisco, its customers,



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  purchasers, users or developers, or some combination thereof. Cisco knew or was willfully

  blind to the fact that it was inducing others, including customers, purchasers, users or

  developers, to infringe by practicing, either themselves or in conjunction with Cisco, one or

  more method claims of the ‘148 Patent, including Claims 1-8.

         351.    Cisco knowingly and actively aided and abetted the direct infringement of the

  ‘148 Patent by instructing and encouraging its customers, purchasers, users and developers to

  use the ‘148 Accused Products. Such instructions and encouragement include, but are not

  limited to, advising third parties to use the ‘148 Accused Products in an infringing manner,

  providing a mechanism through which third parties may infringe the ‘148 Patent, specifically

  through the use of the Accused Catalyst Products, the Accused Router Products, and the

  Accused Stealthwatch Products, alone or in conjunction with one another, and by advertising

  and promoting the use of the ‘148 Accused Products in an infringing manner, and distributing

  guidelines and instructions to third parties on how to use the ‘148 Accused Products in an

  infringing manner.

         352.    Cisco updates and maintains an HTTP site with Cisco’s quick start guides,

  administration guides, user guides, operating instructions, blogs, white papers, data sheets and

  training certification programs which cover in depth aspects of operating Cisco’s offerings.

  See https://www.cisco.com/c/en/us/support/switches/catalyst-9300-series-switches/tsd-

  products-support-series-home.html, attached hereto as Exhibit 34;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9400-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 35;

  https://www.cisco.com/c/en/us/support/switches/catalyst-9500-series-switches/tsd-products-

  support-series-home.html, attached hereto as Exhibit 36;




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  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9300-series-

  switches/datasheet-c78-738977.pdf, attached hereto as Exhibit 16; see also

  https://www.cisco.com/c/en/us/products/collateral/switches/catalyst-9400-series-

  switches/datasheet-c78-739053.pdf, attached hereto as Exhibit 17;

  https://www.cisco.com/c/en/us/support/routers/index.html, attached hereto as Exhibit 37; see

  also https://www.cisco.com/c/dam/en/us/products/collateral/routers/asr-1000-series-

  aggregation-services-routers/at-a-glance-c45-612993.pdf, attached hereto as Exhibit 18; see

  also https://www.cisco.com/c/en/us/products/collateral/routers/4000-series-integrated-services-

  routers-isr/datasheet-c78-732542.pdf, attached hereto as Exhibit 19;

  https://blogs.cisco.com/enterprise/cisco-traffic-analysis-encrypted-threat-analytics, attached

  hereto as Exhibit 38; https://communities.cisco.com/docs/DOC-76964, attached hereto as

  Exhibit 39; https://www.cisco.com/c/en/us/support/security/stealthwatch/tsd-products-support-

  series-home.html, attached hereto as Exhibit 40;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-guides-

  list.html, attached hereto as Exhibit 41;

  https://www.cisco.com/c/dam/en/us/td/docs/security/stealthwatch/hardware/installation/SW_6_

  9_1_Hardware_Installation_DV_1_2.pdf, attached hereto as Exhibit 42;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-installation-and-

  configuration-guides-list.html, attached hereto as Exhibit 43;

  https://www.cisco.com/c/en/us/support/security/stealthwatch/products-programming-reference-

  guides-list.html, attached hereto as Exhibit 44; https://www.cisco.com/c/en/us/training-

  events/training-certifications/certifications/associate/ccna-routing-switching.html, attached

  hereto as Exhibit 45.




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                                       PRAYER FOR RELIEF

         WHEREFORE, Plaintiff Centripetal prays for relief and judgment as follows:

         (A)       An entry of judgment holding that Cisco has infringed and is infringing the ‘193

  Patent, the ‘176 Patent, the ‘ 077 Patent, the ‘ 722 Patent, the ‘806 Patent, the ‘713 Patent,

  the ‘552 Patent, the ‘213 Patent, the ‘205 Patent, and the ‘148 Patent; has induced infringement

  and is inducing infringement of the ‘193 Patent, the ‘176 Patent, the ‘ 077 Patent, the ‘ 722

  Patent, the ‘806 Patent, the ‘713 Patent, the ‘552 Patent, the ‘213 Patent, the ‘205 Patent, and

  the ‘148 Patent;

         (B)       A preliminary and permanent injunction against Cisco and its officers,

  employees, agents, servants, attorneys, instrumentalities, and/or those in privity with them,

  from infringing the ‘193 Patent, the ‘176 Patent, the ‘ 077 Patent, the ‘ 722 Patent, the ‘806

  Patent, the ‘713 Patent, the ‘552 Patent, the ‘213 Patent, the ‘205 Patent, and the ‘148 Patent,

  or inducing the infringement of the ‘193 Patent, the ‘ 176 Patent, the ‘ 077 Patent, the ‘ 722

  Patent, the ‘806 Patent, the ‘713 Patent, the ‘552 Patent, the ‘213 Patent, the ‘205 Patent, and

  the ‘148 Patent and for all further and proper injunctive relief pursuant to 35 U.S.C. § 283;

         (C)       An award to Centripetal of such damages as it shall prove at trial against Cisco

  that is adequate to fully compensate Centripetal for Cisco’s infringement of the ‘193 Patent,

  the ‘176 Patent, the ‘ 077 Patent, the ‘ 722 Patent, the ‘806 Patent, the ‘713 Patent, the ‘552

  Patent, the ‘213 Patent, the ‘205 Patent, and the ‘148 Patent, said damages to be no less than a

  reasonable royalty;

         (D)       A determination that Cisco’s infringement has been willful, wanton, deliberate,

  and egregious;

         (E)       A determination that the damages against Cisco be trebled or for any other basis




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  within the Court’s discretion pursuant to 35 U.S.C. § 284;

         (F)     A finding that this case is “exceptional” and an award to Centripetal of its costs

  and reasonable attorneys’ fees, as provided by 35 U.S.C. § 285;

         (G)     An accounting of all infringing sales and revenues, together with post judgment

  interest and prejudgment interest from the first date of infringement of the ‘193 Patent, the

  ‘ 176 Patent, the ‘ 077 Patent, the ‘ 722 Patent, the ‘806 Patent, the ‘713 Patent, the ‘552

  Patent, the ‘213 Patent, the ‘205 Patent, and the ‘148 Patent; and

         (H)     Such further and other relief as the Court may deem proper and just.



                                                Respectfully submitted,

  Dated: February 13, 2018                By: /s/ Kevin M. O’Donnell_________
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                                               Jeffery T. Martin, Jr., VSB #71860
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                                    DEMAND FOR JURY TRIAL

          In accordance with Rule 38 of the Federal Rules of Civil Procedure, Plaintiff

  respectfully demands a jury trial of all issues triable to a jury in this action.

                                                  Respectfully submitted,

  Dated: February 13, 2018                  By: /s/ Kevin M. O’Donnell_________
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